                  EXHIBIT B




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DEFINITIONS: Important terms used throughout this agreement:

“Account Owner” is a natural person or legal entity in whose name the account is maintained on the Bank’s records.
A person who is designated by an Account Owner to act on that Account Owner’s behalf is not an Account Owner, but
has the authority of the Account Owner. The Account Owner will be bound by the acts of that representative. The word
“Customer” means the same thing as “Account Owner.” Account Owners that are legal entities, including but not limited
to corporations, limited liability companies, partnerships, estates and trusts, are not natural persons, and can only act
through designated representatives. In such cases, it is the legal entity that is the Account Owner.
“Bank” shall mean any one or more direct or indirect subsidiaries of Fifth Third Bancorp and its successors and assigns,
with whom Customer has an account (as defined in UCC Article 9) or card.
“Bank Affiliate” shall mean any one or more direct or indirect subsidiaries of Fifth Third Bancorp and its successors and
assigns.
“Card” shall mean one or more plastic credit or debit cards or any other access device issued by Bank or Bank Affiliate
for use in conjunction with a money dispensing machine, banking terminal, electronic funds transfer device,
Internet access product, line of credit account, or any credit or debit program at Bank or Bank Affiliate.
“Contact Us” means that the Account Owner should use one of the methods listed on the back of this booklet when it’s
necessary to notify the Bank of any discrepancies with their account or obtain additional account information.
“Direct Deposit” is an Automated Clearing House (ACH) credit, which may include payroll, pension, person-to-person
(P2P) or government payments (such as Social Security).
“Obligation(s)” shall mean all loans, advances, indebtedness and each and every other obligation or liability of Customer
owed to Bank and/or any Bank Affiliate, however created, of every kind and description whether now existing or hereafter
arising and whether direct or indirect, primary or as guarantor or surety, absolute or contingent, liquidated or unliquidated,
matured or un-matured, participated in whole or in part, created by trust agreement, lease overdraft, agreement or
otherwise, whether or not secured by additional collateral, whether originated with Bank or owed to others and acquired
by Bank by purchase, assignment or otherwise, including all expenses and attorneys’ fees incurred by Bank or any Bank
Affiliate as a result of or incident to Customer’s obligation of liability. Any Excluded Swap Obligations are specifically
excluded from the Obligations.
“Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.), as amended from time to time
and any successor statute.
“Excluded Swap Obligation” means any Swap Obligation that arises from any guaranty or collateral pledge with
respect to the Obligations that becomes impermissible under the Commodity Exchange Act or any rule, regulation or
order of the Commodity Futures Trading Commission (or the application or official interpretation of any thereof) by virtue
of Guarantor’s failure for any reason not to constitute an “eligible contract participant” as defined in the Commodity
Exchange Act at the time the guaranty or collateral pledge becomes effective with respect to such related Swap
Obligation.
“Swap Obligation” means any Rate Management Obligation that constitutes a “swap” within the meaning of section
1a(47) of the Commodity Exchange Act.




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GENERAL DEPOSIT ACCOUNT TERMS


Deposits and Credits to Your Account

1. All items for deposit or collection, though provisionally credited, are received or purchased subject to proof and
   collection. Until the proceeds thereof in money are actually received by Bank or until such items become final under
   applicable law, such items themselves can be returned and charged back to the account or subject to refund by
   Customer or the Bank may decline payment drawn on deposits. Bank acts only as Customer’s collection agent and
   shall not be liable for any loss caused by the negligence or failure of its agents, correspondents, or other bank while the
   item is in their hands or in transit. Customer agrees that Bank can pursue collection of previously dishonored items and
   waives any time restriction on Bank’s election to finally pay or revoke provisional credit for any item. Failure to enforce
   these rights by the Bank shall not be considered a waiver thereof.

2. The Bank may refuse at any time to accept any deposit and it may, at any time, close the account of any Customer.
   If an account is closed before interest is credited, you will not receive any accrued interest. An account may be
   automatically closed if any withdrawal reduces the balance in the account to zero. You agree to pay any fees for the
   closure of your account in accordance with the “Deposit Account Pricing & Services” section associated with your
   account and you are liable for any overdrawn amounts. Any checks presented for payment on your account after it is
   closed will be returned unpaid. The bank will not be liable for any item presented after an account has been closed.

3. The Bank specifically reserves the right to require seven (7) days written notice before funds deposited into savings
   accounts may be withdrawn.

4. The Bank may, at its sole discretion, limit or refuse to honor a request for a split deposit at any time.

5. If a deposited item is returned unpaid, and resubmitted for payment, the Bank reserves the right to charge a
   re-presentment fee (not applicable to Express Banking).

6. When a deposited item is returned unpaid and charged back to your account, the Bank reserves the right to
   charge a returned item fee (not applicable to Express Banking). If an item is returned as a counterfeit item, altered
   item, or for any other reason, Customer acknowledges and agrees that they will be liable to the Bank for any loss
   suffered by Bank, regardless of any confirmation of availability of funds done by Bank.

7. When a deposit item is returned unpaid, Customer will receive an image or other record of the item, at Fifth Third’s
   discretion, that will be sufficient for you to protect your rights against the maker.

8.   The Bank is not required to provide next day notice of an ACH item credited to a customer’s account. Customer will be
     notified via periodic customer statements. If you have questions on an ACH credit, contact us.


                                                          FDIC Insurance

The FDIC protects the depositors of insured Banks against the loss of their deposits due to a bank failure. The standard
insurance amount is $250,000 per depositor. Insurance coverage is dependent upon account ownership categories and subject
to FDIC requirements.

Sweep Arrangements: Federal law requires all insured depository institutions to provide the following disclosure to their
customers regarding the effect that a sweep arrangement may have on FDIC insurance coverage. Sweep arrangements
involving deposit-to-deposit transfers are insured by the FDIC, subject to FDIC requirements. Insurance coverage is dependent
upon account ownership categories (e.g. single, joint, revocable trust). If there is a change in account ownership, the funds are
aggregated with the deposit account balances of the new owner(s) and insured up to the maximum amount permitted by law.
Funds swept via a sweep arrangement that transfers funds from an insured deposit account to a non-deposit investment vehicle
or account are not considered a deposit and are not insured by the FDIC. These funds will have general unsecured creditor
status. Repurchase Agreement Sweep Accounts Only: Upon transfer of the funds, customers become a legal owner or obtain a
perfected security interest in the identified assets. These funds have secured creditor status.

External Sweep Arrangements (i.e. funds swept outside the insured depository institution): Funds not swept to a source
outside the institution prior to the applicable cut-off time will be treated as deposits of the depository institution and insured under
the applicable FDIC insurance rules and limits.
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Checks, Withdrawals, Transfers, and Other Charges

1. Customer understands and agrees that Bank will not accept a substitute check that was created by a person or entity
   other than a bank, which has not yet been transferred by a bank, unless otherwise agreed to by Bank under separate written
   agreement.

2. The Bank assumes no liability for the payment of a post-dated check, unless notice of such post-dated check is given
   to the Bank in the form of a stop payment request as described below. If sufficient notice is received, the request
   will be treated as a stop payment request in accordance with the below stop payment provisions for all purposes
   including its effective period. It is the customer’s obligation to remove a stop payment order for a post-dated item
   once the item is no longer post-dated.

3. Bank is under no obligation to honor a check presented more than six months after date of issuance, but may charge
   Customer’s account for payment made thereafter in good faith.

4. Customer agrees that Bank can disregard any information on an item other than MICR encoded data, amount,
   signature of drawer, and identity of payee.

5. Customer authorizes Bank to honor any items bearing Customer’s account number if Customer has disclosed that
   account number to the payee or any representative, affiliate, or party associated with the payee, whether or not the
   item is signed by the Customer. Customer further agrees that Bank may presume that authorization was obtained
   by the issuer of the item. For example, if Customer voluntarily gives information about their account (such as the
   routing number and account number) to a party who is seeking to sell Customer goods or services, and Customer
   does not physically deliver a check to the party, any debit to the account initiated by the party to whom you gave the
   information is deemed authorized. Customer is responsible for all properly payable items.

6. If Bank cannot locate an item in the collection process and Customer suffers a loss, Bank will be liable up to the amount of
   the item only.

7. Stop Payment: A fee may be charged for any stop payment order. A stop payment order will be accepted only if
   sufficient information is given at the same time of request to reasonably allow Bank to honor the request. The Bank
   will honor only the exact information given to us; otherwise, the Bank is not responsible. A stop payment is effective
   for six months. Stop payment orders will not be effective until the Bank has recorded the information on your account
   and has had sufficient time to enforce the order. If Bank re-credits the account after payment over a verbal and timely
   stop payment order, Customer agrees to transfer all rights against payee or other holder of the item to Bank and will
   assist Bank in legal action taken against such person. Customer agrees that Bank will not be obligated to re-credit the
   account if Customer received anything of value for the check. Computer generated checks without MICR line cannot
   be stopped.

8. Customer agrees Bank may charge a fee to anyone presenting an item for payment from Customer’s account if such
   person does not have an account with Bank.

9. Right to Stop Payment of Pre-Authorized Transfers: If you have told us in advance to make regular payments from
   your account, you can stop any of these payments.

    Procedure to Stop Payment: Contact us in time for us to receive your request three Business Days or more before
    the payment is scheduled to be made. The telephone number will be shown on your periodic statement. If you call,
    we may also require that you put your request in writing and get it to us within fourteen (14) days after your telephone
    call.

    We will charge you a fee for each stop payment order you give.

    Once you have placed a stop payment order on a pre-authorized transfer, the Bank will not make any more pre-
    authorized transfers to the person whom you were going to pay until we receive a new written authorization from you.

    Notice of Varying Amounts: If these regular payments vary in amount, the person whom you are going to pay will
    tell you ten (10) days before each payment when it will be made and how much it will be. You may choose instead
    to get this notice only when the payment would differ by more than a certain amount from the previous payment, or
    when the amount will fall outside certain limits you set. We suggest that you contact the person you are going to pay
    directly to discuss this matter.
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    Bank’s Liability for Failure to Stop Payment: If you order us to stop one of these payments three (3) Business
    Days or more before the transfer is scheduled, and we do not do so, we will be liable for your losses or damages.
    The Bank will honor only the exact information given us; otherwise, the Bank is not responsible.


                            Important Information About Substitute Checks and Your Rights

If you are a consumer customer who receives paid checks with your periodic account statements:

What is a substitute check?
To make check processing faster, federal law permits banks to replace original checks with “substitute checks.” These
checks are similar in size to original checks with a slightly reduced image of the front and back of the original check. The
front of a substitute check states: “This is a legal copy of the original check. You can use it the same way you would use
the original check.” You may use a substitute check as proof of payment just like the original check.

Some or all of the checks that you receive back from us may be substitute checks. This notice describes rights you have
when you receive substitute checks from us. The rights in this notice do not apply to original checks or to electronic debits
to your account. However, you have rights under other laws with respect to those transactions.

What are my rights regarding substitute checks?
In certain cases, federal law provides a special procedure that allows you to request a refund for losses you suffer if a
substitute check is posted to your account (for example, if you think that we withdrew the wrong amount from your account
or that we withdrew money from your account more than once for the same check). The losses you may attempt to
recover under this procedure may include the amount that was withdrawn from your account and fees that were charged
as a result of the withdrawal (for example, bounced check fees).

The amount of your refund under this procedure is limited to the amount of your loss or the amount of the substitute
check, whichever is less. You also are entitled to interest on the amount of your refund if your account is an interest-
bearing account. If your loss exceeds the amount of the substitute check, you may be able to recover additional amounts
under other law.

If you use this procedure, you may receive up to $2,500 of your refund (plus interest if your account earns interest) within
10 Business Days after we received your claim and the remainder of your refund (plus interest if your account earns
interest) not later than 45 calendar days after we received your claim.

We may reverse the refund (including any interest on the refund) if we later are able to demonstrate that the substitute
check was correctly posted to your account.

How do I make a claim for a refund?
If you believe that you have suffered a loss relating to a substitute check that you received and that was posted to
your account, contact us. You must contact us within 40 calendar days of the date that we mailed (or otherwise delivered
by a means to which you agreed) the substitute check in question or the account statement showing that the substitute
check was posted to your account, whichever is later. We will extend this time period if you were not able to make a timely claim
because of extraordinary circumstances.

Your claim must include:
• A description of why you have suffered a loss (for example, you think the amount withdrawn was incorrect);
• An estimate of the amount of your loss;
• An explanation of why the substitute check you received is insufficient to confirm that you suffered a loss; and
• A copy of the substitute check and/or the following information to help us identify the substitute check: the check
    number, the name of the person to whom you wrote the check, and the amount of the check.


Account Ownership

1. Joint Ownership: Where there is more than one Account Owner (such Account Owners are sometimes referred
   to as “Joint Customers” in this document), the account shall be deemed as owned as joint tenants with right of
   survivorship, not as tenancy by the entireties. Any Joint Customer may stop payment, close the account, withdraw
   all or a portion of the account balance, transfer funds to or from the account, or otherwise transact on the account.
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     Any such use of the account by any Joint Customer, or an authorized agent of any Joint Customer, shall be deemed
     ratified and approved by each Joint Customer as if the transaction or activity had been made and authorized
     personally by any and all of the Joint Customers. All Joint Customers agree to be jointly and severally liable to
     Bank for any deficit, regardless of which Joint Customer caused a deficit. Each Joint Customer will be liable for any
     overdraft of any other Joint Customer whether or not receiving any benefit from the payment. Each Joint Customer
     intends and agrees that the account balance upon his death shall, subject to set off and any and all pledge or security
     agreements, be the property of the survivor, or if more than one survivor, the survivors shall remain as joint tenants
     with rights of survivorship between them. A payment to a Joint Customer or the survivor shall be a valid and complete
     discharge of the Bank from any and all liability. However, upon receipt of notice of death or incompetence of a
     Customer, Bank may restrict or prohibit further withdrawals until Bank is satisfied that its obligations under law and
     this Agreement have been met. Payments to the survivor shall be subject to all applicable estate or inheritance laws.
     If a person is a Joint Customer of a Fifth Third Essential Checking account for students or other account along with a
     minor, all of the above rules regarding joint ownership apply to that person.

2. In the event the ownership of an account or signing authority on an account is in dispute for any reason, including
   but not limited to a lost or destroyed signature card, and/or in the event of a conflict between Account Owners or
   individuals with signing authority on an account, the Bank reserves the right to take action, which may include, without
   limitation, instituting legal proceedings and/or placing a hold on the account until such time as the dispute or conflict is
   resolved.

3. Minor Ownership: A minor of any age may not be the sole owner of any Fifth Third checking, savings, or Express
   Banking account. A minor aged 16 or 17 can be a joint owner on an account, as long as his/her parent or adult
   guardian (age 18 or older) is also a joint owner on the account.

4.   Trust Account: When the signature card indicates that the account is a “Trust” account, the Trust shall be the
     Account Owner and the current Trustee(s) shall be the account signator(s). The Trustee(s) shall be responsible for
     all transactions performed on the account. In the case of a Trustee’s death or resignation, the Successor Trustee(s)
     appointed by the Trust or by court order shall become the Trustee(s). Unless the Trust expressly provides otherwise, all
     Trust accounts shall be revocable by the grantor thereof during his or her life.

5. Payable on Death Account: If your account type permits a payable on death beneficiary or custodian
   designation, this paragraph applies. When the signature card designates the beneficiary to receive the account
   funds upon the death of the Customer, it supersedes and revokes any previous appointment of any other beneficiary.
   Customer may withdraw all or any portion of the account balance during his lifetime and Customer retains the
   right to revoke the designation of any beneficiary. Bank has the right to deal with the Customer as if a beneficiary
   was not named. The amount on deposit in this account at the death of the Customer shall belong and be paid to
   the beneficiary, if the beneficiary survives the Customer, subject to the provisions of this Agreement, the rules
   of Bank and applicable laws. Payment to the beneficiary after the death of the Customer shall be a valid and full
   release and complete discharge of the Bank from any and all liability and shall be binding upon the heirs, executors,
   administrators and assigns of Customer. Bank reserves the right to require satisfactory proof of death of the
   Customer and survival of the beneficiary.

6. Custodian Account: When an account is opened with a Custodial relationship, the signature card will indicate the
   ownership of the account. For example, the signature card will indicate the ownership as “Minor” and “Custodian”
   when the Custodian Account is opened for the purpose of making a gift to a minor under the Uniform Transfer to
   Minors Act (the “Custodian” ownership designation is also used for Representative Payee accounts and Escrow
   Accounts). The Custodian(s) shall be the donor(s) and the custodian(s) for the minor owner named on the face of the
   signature card. The custodian(s) shall have all the powers and duties provided by law, including power to withdraw,
   with or without court order. Minor, as used here, is determined by age, according to applicable state law. For the
   purposes of the Uniform Transfers to Minors Act, the term minor, determined by applicable state law, as amended
   from time to time, means under the age of 21 in Florida, Illinois, Indiana, Ohio, Tennessee, Georgia, North Carolina
   and West Virginia and under the age of 18 in Kentucky and Michigan.

7. Accounts and Cards are not transferable except as otherwise agreed in writing. Assignments and encumbrances other
   than indebtedness owing to the Bank must be consented to by Bank after receipt of written notice from the depositor.




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Statements & Notices

1. Customer agrees to carefully examine and reconcile account statements and that statements may be mailed or
   made available to the last known address as carried on the records of Bank or made available to Customer via other
   means, i.e. Internet Banking. Customer agrees that Bank will not be liable if Customer fails to exercise ordinary
   care in examining their statements. Customer will notify Bank of a discrepancy with items such as, but not limited
   to, deposits, withdrawals, and checks, within thirty (30) days of the statement mailing or made available to customer
   date. Customer will also notify Bank of any forgery or alteration of these items within thirty (30) days of the statement
   mailing or made available to customer date. If notification is not received, Bank will have no liability for such item(s).
   Customer also agrees that Bank will have no liability if the item is forged, altered or counterfeited in such a manner
   that the fraud could not be detected by a reasonable person. Customer assumes all liability for unauthorized
   signatures produced by a facsimile signature device or stamp.

2. Cancelled checks and original deposit account documents will not be provided in account statements but
   reproductions will be available upon Customer’s request. Fees may apply. These occurrences will not extend the
   time within which Customer must notify Bank of irregularities shown on their account statement.


Dormant & Inactive Accounts

1. An account becomes dormant after a period of inactivity of 12 months for a checking account (excluding Express
   Banking) and 36 months for a savings account. Inactivity means there has been no deposit into or withdrawal from
   the account. See the “Pricing & Services” section of this booklet or ask a Fifth Third representative for the fees
   associated with dormant accounts.

2. The Bank reserves the right to close an account if there is a zero balance and no activity for a period of time. New
   checking and savings accounts (excluding Express Banking and Business Banking accounts) not funded and with
   no activity within 45 calendar days of opening will be closed. Express Banking accounts with a zero balance and no
   activity for a period of 395 calendar days will be closed.

3. Inactive accounts are subject to escheatment to the State Treasury (in the state of Customer’s last address of record
   with Bank) as unclaimed property. For more information about your state’s unclaimed property programs, visit www.
   unclaimed.org.


Savings Account Transaction Policies

1. Unlimited Transactions: You may make an unlimited number of payments from your savings account(s) to your
   Fifth Third installment, mortgage, or credit card accounts. Withdrawals/Transfers made in person or at an ATM are
   unlimited.

2. Transfer/Withdrawal Restrictions: You are limited to six of the following transactions from your savings accounts
   each month:
   • Pre-authorized or automatic withdrawals/transfers including but not limited to:
      • Automatic transfers from your savings account to cover an overdraft.
      • Internet Banking - transfer of funds or bill payment from your savings account to third parties or to other
          deposit accounts at Fifth Third.
      • Pre-authorized ACH or Electronic Transfers.
      • Fifth Third Telephone Banking or any money management payment from your savings account.
   • Point-of-sale transactions with a debit card.
   • Checks or drafts payable to third parties.

3. Notification of Excessive Transfers: We will send you notice after the first and second month of excessive
   withdrawals or transfers. After three instances in a twelve month period of exceeding the allowable number of
   withdrawals or transfers, your savings account may be closed and funds placed in a checking account, or you may
   be offered other options to eliminate future excessive transfers, including but not limited to removal of the savings
   account’s transfer and draft capabilities.




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Other Terms

1. Withdrawals or deposits may be made by the Account Owner in person or by his duly authorized agent; or, in case of
   death or disability, by his legal representative; and in case of minors, as provided by law. Certain transactions (e.g.
   ATM deposits) may be restricted prior to account opening. An account is considered opened when the Account Owner
   has complied with all account opening requirements, including but not limited to, the minimum required funding of the
   account, if applicable.

2. Any Obligation may be charged to any deposit account in the name of Customer or in the name of any Joint
   Customer and Customer hereby grants to Bank a security interest in Customer’s accounts with Bank and any
   accounts Customer has with any Bank Affiliate to secure the Obligations, regardless of the amount of contribution
   by any Customer to such account(s). Customer agrees that the security interest it has granted to Bank hereunder is
   consensual and is in addition to Bank’s common law right of set off. Customer also grants Bank the right, on Bank’s
   own behalf and on behalf of any Bank Affiliate, to set off against any and all funds in Customer’s account to pay
   any Obligation owed by the Customer. Customer acknowledges that the Obligations that are secured by the Bank’s
   security interest and set off rights granted hereby include all present and future Obligations owed by Customer to
   any Bank Affiliate. Customer agrees that Bank may act in accordance with instructions received from any such Bank
   Affiliate regarding disposition of any funds in Customer’s accounts without any further consent or action by Customer.
   Bank may exercise its right of set off and its security interest without recourse to other collateral, if any, and even
   if such action causes Customer to lose interest, have transactions drawn on its account returned, incur an early
   withdrawal penalty or any other consequence. If Bank exercises its rights hereunder, Bank will notify Customer to the
   extent required by applicable law. Bank’s right of set off and its security interest may not apply to Customer’s account
   to the extent expressly prohibited by applicable law.

3. Business Transactions: Personal or consumer account types should not be utilized for business transactions. Bank
   reserves the right to close personal consumer deposit accounts used to process business transactions. Bank may, in its
   sole discretion, refuse to honor items presented that are payable to a business accompanied by a request to cash the item
   or deposit the item into an individual account.

4. Bank may at its sole discretion, with prior notice to Customer (if required), change a Customer’s account type.

5. Bank may re-open a closed account for any reason, including without limitation, to post items drawn on the account
   presented for payment, returned items, or fees.

6. If the Bank reasonably suspects fraud of any type relating either directly or indirectly to an account(s), the Bank may take
   action, which may include, without limitation, placing a hold on the account(s) in order to conduct an investigation or allow
   law enforcement to conduct an investigation. The Bank shall not be liable for its actions pursuant to this paragraph.
   This paragraph does not imply that the Bank has an obligation to monitor accounts or transactions.

7. If the account or account funds become involved in any dispute or legal proceedings, including but not limited to,
   disputes or proceedings which are challenging the ownership or custody of the account and/or the ownership or
   custody of account funds, the use of the account may be restricted. In the event that we are brought into or must
   initiate any legal proceedings in regard to the account and/or account funds, including but not limited to the collection
   of overdrafts, you agree to reimburse us to the extent allowed by law, for any attorneys’ fees which we may incur. We
   may also, at our option, pay the funds to the clerk of an appropriate court, so that the court may decide who owns or
   controls the money. If we do so, we will ask the court to award our attorneys’ fees to us from the account.

8. Should the Bank be served with any legal process which affects the account, the Bank may without liability suspend
   payment on any account which it believes to be affected thereby until final determination of such legal proceeding
   or appropriate resolution of the legal proceeding, even though the suspension of payment may have been due to
   inadvertence, error on account of similarity of names of Account Owners, or other mistake. Should the Bank be served with
   garnishment in the name or names of any Joint Customer, each Customer agrees that Bank’s remittance of any amounts
   constitutes an authorized withdrawal as provided herein. The Bank shall not be liable for any damages to Account
   Owner by reason thereof, providing the Bank shall have acted in good faith. Attachments, garnishments, levies and the like
   shall be subject to fees assessed by the Bank and to Bank’s security interest and right of set off. Customer acknowledges
   and agrees that Bank may collect fees associated with the processing of these orders from Customer’s account(s) for a
   period of up to six months.

9. If the Bank incurs any expenses, including administrative costs and reasonable attorney fees, in responding to an
   attachment, garnishment or other levy that is not otherwise reimbursed, the Bank may charge such expenses to
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    Customer’s account without prior notice to Customer. Any garnishment or other levy against Customer’s account is
    subject to the Bank’s right of setoff and security interest.

10. The Bank will not be liable for any damages whatsoever if the Bank acted in good faith.

11. Bank’s Liability for Failure to Make Transfers: If we do not complete a transfer to or from your account on time
    or in the correct amount according to our account agreement with you (including all rules and regulations governing
    your account), we will be liable for all losses not to exceed the amount of the transfer. We will not be liable, however in
    instances such as:
    •   If, through no fault of ours, you do not have enough money in your account to complete the transfer;
    •   If the transfer would go over your credit limit on your line of credit account;
    •   If Fifth Third Bank ATMs or other ATM terminals where you are making the withdrawal do not have enough cash;
    •   If circumstances beyond our control (such as fire or flood) prevent the transfer, despite reasonable precautions
        that we have taken;
    •   If the funds in the account are subject to legal process or other encumbrance restricting such transfer;
    •   If Fifth Third Bank ATMs or other ATM terminals or system is not working properly due to normal maintenance
        activities or malfunction;
    •   If the Fifth Third Internet Banking system was not working properly due to the failure of electronic or mechanical
        equipment or communications lines, telephone or other interconnect problems, normal maintenance, unauthorized
        access, theft, operator errors, severe weather, earthquakes, floods and strikes or other labor problems;
    •   If there is an allegation of fraudulent activity concerning the account; or
    •   If other rules, regulations, or agreements of the Bank so provide.

12. Sub-accounting for Checking Accounts: Each checking account will consist of a checking subaccount and a
    non-interest bearing savings subaccount. Checks, debits and other items presented for payment will be posted to
    the checking subaccount. Bank may transfer funds between these subaccounts from time to time as follows. Bank
    may establish a threshold balance for your checking subaccount by reviewing the master account historic activity
    to determine the amount not routinely needed to pay debits (“threshold balance”). If the balance in your checking
    subaccount during any calendar month exceeds this threshold balance, Bank may transfer the excess funds to
    the savings subaccount. Bank may also sweep the entire balance of your checking subaccount into the savings
    subaccount during the weekend when no items will post to your account.

    If the balance in your checking subaccount falls below the threshold balance during any calendar month, we
    will transfer funds to your checking subaccount from your savings subaccount sufficient to restore the checking
    subaccount to the threshold balance. Bank may not make more than six transfers out of the savings subaccount
    during any calendar month. If a sixth transfer is necessary, all funds in the savings subaccount will be transferred to
    the checking subaccount for the remainder of the calendar month. In that event, at the end of the calendar month,
    Bank will transfer funds in excess of the threshold balance from the checking subaccount to the savings subaccount.
    Because the savings subaccount is used for internal purposes only, you cannot access it directly. Bank’s transfers
    of funds into and out of the savings subaccount will be the only transactions on the savings subaccount. Transfers
    between subaccounts will not appear on your statement and will not be subject to any fees. The combined balances
    of both subaccounts will be used to determine the balance of your account for any minimum balance requirement
    or any other reason that a balance is considered. Interest-bearing checking accounts only: The subaccounts will not
    affect your use of your interest-bearing checking account, funds availability, or the interest paid on your account. The
    interest rate that applies to your interest-bearing checking account will apply to both subaccounts.

13. English Document Controlling: Any translation of this Agreement is provided only for your convenience. The
    meanings of terms, conditions and representations herein are subject to definitions and interpretations in the English
    language. Any translation provided may not accurately represent the information in the original English version. The
    English version is the document that will govern the relationship between you and the Bank.

14. Customer agrees that except where a shorter time is permitted by law, regulation, or agreement, Bank is not required
    to retain records of any transaction for more than seven (7) years [five (5) years for Florida residents] after receipt of
    the item and Customer and Customer’s heirs, assigns, and personal representatives release Bank from any liability
    therefore on Customer’s behalf.

15. Unlawful Internet Gambling Enforcement Act Notification: Restricted transactions are prohibited from being
    processed through any Fifth Third Bank account or relationship. A restricted transaction includes, but is not limited
    to, any transaction or transmittal involving any credit, funds, instrument, or proceeds that any person engaged in the
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    business of betting or wagering knowingly accepts, in connection with the participation of another person in unlawful
    Internet gambling. It includes credit or the proceeds or extension of credit (including credit extended by use of a credit
    card); electronic fund transfers or funds transmitted by or through a money transmitting business; or a check, draft or
    similar instrument that is drawn on or payable at or through any financial institution.

    Unlawful Internet gambling means to place, receive, or otherwise knowingly transmit a bet or wager by any means
    which involves the use, at least in part, of the Internet where such bet or wager is unlawful under any applicable
    Federal or State law in the State or Tribal lands in which the bet or wager is initiated, received, or otherwise made.

16. Telemarketing Sales Rule: If you are subject to the requirements of the Telemarketing Sales Rule as promulgated
    by the Federal Trade Commission (together with any additional or related rules and policies, the, “TSR”), you are
    prohibited, among other requirements, from creating and using certain payment methods including “remotely created
    payment orders” (including a “remotely created check”) as defined in the TSR (collectively, the “Prohibited TSR
    Payments”). You are responsible for understanding and complying with the TSR and agree that you will not deposit
    with, initiate or send to, or seek to process with us any Prohibited TSR Payment.

17. ATM Safety & Security: As with all financial transactions, discretion should be applied when using an ATM or night
    deposit facility. For your safety, you should always remain alert and be cognizant of your surroundings, particularly
    during hours of darkness. Remember to keep your Personal Identification Number (“PIN”) confidential, and refrain
    from displaying cash that you withdraw. If you are ever confronted with suspicious activity when engaging in an ATM
    transaction, you should stop your transaction and use another ATM machine or conduct your transaction at another
    time.

    Also, you should immediately report this occurrence, as well as any crime that you may observe, to your local police
    department or to the operator of the ATM. Additionally, if you observe that an ATM’s lights have gone out or other
    safety precautions are not in place, please report this to the operator of the ATM.

18. To the extent permitted by applicable law, you consent that we may contact you at any telephone number that you
    have given to us, any number that you have called us from or any number we have for you in our records, including
    your cellular or other wireless device to service your account or for collection purposes. We have your permission
    to contact you by any means available, including by text message. You also agree that we may contact you using
    prerecorded messages or automatic dialers. When we use the words “we” and “us” in this paragraph, we are also
    referring to our affiliates, agents and service providers. If you give us an email address, you also consent to our
    contacting you by email.

These Rules & Regulations, as well as the fees and charges associated with your account(s) may be altered or amended
at any time by the Bank and as altered or amended shall be binding on all Customers. The current version of these
Rules & Regulations is available online at 53.com or in any Fifth Third banking center. Continued use of products
constitutes acceptance of the terms.


FUNDS AVAILABILITY FOR TRANSACTION ACCOUNTS
(excluding Express Banking)

Fifth Third Bank is continually working to improve the collection of checks and the availability of funds for withdrawal. The
Expedited Funds Availability Act (Regulation CC) gives the Federal Reserve Board powers to expedite the collection and
return of checks. Fifth Third Bank is required to notify you of the details of this regulation which affect the availability of
funds deposited to your checking account.

1. If you present an item to be cashed, Bank may place a hold on a corresponding amount of available funds in your
   account for the same amount of time the funds would not have been available had the item been deposited into your
   account.

2. Savings accounts are not covered under Regulation CC, but the Bank reserves the right to place a hold to guarantee
   funds.




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Follow these steps to determine the availability of your deposit:


STEP 1: Determine the Day of Your Deposit

1. Our policy is to make funds from your in-person cash deposits available to you on the calendar day we receive your
   deposit, subject to applicable cut-off times. Electronic direct deposits and wires will be available on the Business
   Day we receive the deposit.

2. Business Day: “Business Day” is defined as Monday through Friday, excluding Federal Holidays or as otherwise
   posted in the Banking Center. For deposits made on Saturday, Sunday, or a Federal Holiday, the day of your deposit
   is the next Business Day.

3. The types of deposits available on the first Business Day after the day your deposit is received by a Fifth Third Bank
   employee are:
    •     U.S. Treasury checks that are payable to you,
    •     Federal Reserve Bank checks that are payable to you,
    •     Federal Home Loan Bank checks that are payable to you,
    •     Postal money orders that are payable to you.
    •     State and local government checks *
    •     Cashier’s and certified checks *

          * Business/Commercial Accounts: A special deposit slip must be obtained from a Fifth Third Bank customer
          service representative in order to process these types of deposits for next day availability, provided the item(s) are
          payable to you and deposited into your account.
    If you do not make your deposit of the items listed above in person to a Fifth Third Bank employee (for example if you
    mail the deposit or through the Night Depository), funds will be available no later than the second Business Day after
    the day your deposit is received.

4. Business Day Cut-Off Times: If you make a deposit at any banking center on a Business Day that the banking
   center is open and prior to closing, we will consider that day to be the day of deposit. However, if you make a deposit
   on a day that we are not open or after the banking center is closed, we will consider that the deposit was made on
   the next Business Day that we are open. Contact us for additional information on your banking center’s hours of
   business.

    Funds received after certain cut-off times for certain channels and products may be credited as of the next Business
    Day. Refer to the chart below for details.

    Deposits made after cut-off times will reflect on your account statement the following Business Day.

        Channel                                                                             Cut-Off Time
        In Person at a Fifth Third Banking Center                       Banking Center Closing Time (varies by location)
        Night Depository at a Fifth Third Banking Center                                7:00 a.m. local time
        Fifth Third ATM                                                                     7:00 p.m. ET
        Mobile Deposit                                                                      8:00 p.m. ET
        Online Banking
        Mobile Banking (transfers)                                                          9:00 p.m. ET
        Automated Telephone Customer Service Line
        Deposits Made Using Fifth Third’s Cash Vault                                       2:00 p.m. ET*
        Services (Business Accounts Only)                                 *based on when deposit is received at our cash vault



Note: The cut-off times listed above also apply to associated debits that may post to your account, such as ATM
withdrawals and funds transferred from a Fifth Third account to another Fifth Third account, loan, or credit card. Transfers
to or from a non-Fifth Third deposit account made via Online Banking may be subject to different cut-off times which are
disclosed to you in Online Banking.
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STEP 2: Determine What’s Available and When

Once deposits are available, you can withdraw the funds in cash, and we will use the funds to pay transactions you have
initiated. Funds deposited on a non-Business Day will follow the next Business Day cutoff.

Please note the manner in which you make your deposit and the cut-off times listed on page 10 can impact funds
availability. Cut-off times are specified as Eastern Time Zone (ET). Deposits made in a different time zone after the cut-
off times listed on page 10 may not be immediately available.




                                       What amount is available to pay
                                                                                      What amount is available for
                                      checks and other transactions that
                                                                                    same-day cash withdrawals and
                                         post to your account on the
                                                                                        debit card purchases?
                                        Business Day of your deposit?

 Direct Deposits                    Full Deposit Amount                          Full Deposit Amount

 Cash Deposits                      Full Deposit Amount                          Full Deposit Amount

 Transfers from another Fifth                                                    Full Amount, if transferred prior to our
                                    Full Amount
 Third account                                                                   cut-off time*

 Mobile Deposits, using Fifth
 Third’s “Immediate Funds”          Full Deposit Amount                          Full Deposit Amount
 Service

 Personal Accounts
 Check Deposits made in                                                          If deposited prior to our cut-off time*:
 any other channel - Banking                                                     • $100 of your total deposit amount
                                    Full Deposit Amount
 Center, ATM, Mobile Deposit                                                     • Remaining funds available for next
 using standard availability                                                         Business Day withdrawal
 service

                                                                                 None. $200 of your total deposit
 Business Accounts
                                                                                 amount available for next Business Day
 Check Deposits made in
                                    Full Deposit Amount                          withdrawal. Remaining funds available
 other channels - Banking
                                                                                 on second Business Day after we
 Center, ATM, Mobile Deposit
                                                                                 receive the deposit.

 Wire Transfers                     Full Amount                                  Full Amount

* For deposits and transfers made after the cut-off times listed on page 10, funds are available for cash withdrawals and
purchases on our next Business Day, following the schedule listed above.

Note: In certain instances, availability may be delayed. See Step 3 for circumstances where delays may impact
the availability of your deposits.


STEP 3 - Consider Circumstances Where Longer Delays May Apply

In some cases, funds that you deposit by check will not be available according to the schedule defined herein.
If all the funds from your non-ATM/mobile deposit will not be available according to the scenarios described herein, a
customer service representative will notify you when your funds will be available at the time you make your deposit. If we
decide to take this action after you leave the premises, we will mail you notice of when the funds will be available by the
Business Day after we receive your deposit or the Business Day following the day the facts upon which a determination to
hold your funds become known to the Bank.
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If your deposit is not made directly to a bank employee, and if we decide to take this action, we will mail you notice when
the funds will be available by the Business Day after we receive your deposit or the Business Day following the day the
facts upon which a determination to hold your funds becomes known to the Bank.

If you want to be sure when a particular deposit will be available for withdrawal, you should ask us when the funds will be
available. It’s important to know that, even though your account may show available funds, the check you deposited may
not be authentic or may not have cleared the bank it was drawn on.

Extraordinary circumstances which may delay the availability of funds deposited for a longer period include, but are not
limited to:
• Reason to believe the check deposited will not be paid.
• Checks totaling more than $5,000 that are deposited on the same day.
• A check is re-deposited that has been returned unpaid.
• The deposit account has been repeatedly overdrawn in the last six months.
• An emergency, such as failure of communications or computer equipment, occurs.
• An operational issue has occurred, such as failure of an ATM-owning financial institution to timely balance or reconcile
     the ATM and/or the ATM deposits.

Availability of funds will generally be no later than the seventh Business Day after the day of your deposit.


Funds Availability for New Accounts

An account (excluding Express Banking) is considered a new account during the first 30 calendar days after an account
is established. An account is not considered a new account if Customer has had, within 30 calendar days before the
account is established, another transaction account at Bank for at least 30 calendar days.

Funds from deposits of cash and the day’s total deposits of cashier’s, certified, traveler’s, U.S. Treasury checks, U.S.
Postal money orders, Federal Reserve Bank checks, Federal Home Loan checks and state and local government checks
will be available on the first Business Day after the day your deposit is received by the Bank provided all checks are
payable to you and you use a special deposit slip, if required. For business/commercial accounts, if you do not make this
deposit in person to a Bank employee, or use a special deposit slip, if required, the funds will be available on the second
Business Day after the day your deposit is received by the Bank.

Funds from wire transfers and electronic direct deposits to your account will be available on the day we receive the
deposit. Funds from all other check deposits will be available no later than the ninth Business Day after the day of your
deposit.


Endorsements

Part of the Expedited Funds Availability Act is to standardize check endorsements.

As a depositor of checks, the regulation limits the location of your endorsement to the top 1.5 inches at the trailing edge of
the check. The trailing edge is directly behind where the “Pay to the Order” is printed. This is where most endorsements
are usually placed.

Any marks below the 1.5 inches on the back of the check may obscure the bank’s information and ultimately result in a
delay in returning the check, and could result in the forfeiture of your right to the recovery of those funds.

Transfer Limitations

The following limitations apply to Electronic Transfers:
•   Due to certain state banking laws currently in effect, you may not be able to make deposits at certain locations.
•   The immediate use of deposited funds is restricted by the Account Agreement.
•   For security reasons, there are limits on the amount of cash withdrawals from the Account that may be made from
    Fifth Third ATMs or other ATMs.
•   There are limits on the amount of cash you may withdraw or transfer immediately after you make a deposit.
•   Once you have placed a stop payment order on a pre-authorized transfer, we will not make any more pre-authorized
    transfers to the person whom you were going to pay until we receive a new written authorization from you.
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•   No deposits or withdrawals may be made on a dormant account through Fifth Third ATMs or other ATMs.
•   For security reasons, there may be other limits on the number and amount of transactions you can make using Fifth
    Third Bank ATMs or other ATM terminal systems.
•   The Bank specifically reserves the right to require seven (7) days written notice before funds deposited in any savings
    deposit account may be withdrawn.


ACCOUNT OVERDRAFT & RETURNED ITEMS
(excluding Express Banking)


Managing Your Account

You can avoid overdraft situations by always making sure you have sufficient funds in your account to cover all of the
debits (-) you make. We have services available to help you keep track of your account balance and the money you have
spent. These include:
• Logging on to 53.com
• Using our mobile app
• Enrolling in text or email alerts
• Using a Fifth Third ATM
• Contacting us at the phone number listed on the back of this booklet.

We also offer several options that may help you manage times when you are facing an overdraft situation. These
options include Overdraft Protection and, for consumer accounts, Overdraft Coverage for ATM and one time debit card
transactions. You can get more information on these options by contacting us.


Daily Overdraft Calculation

In this section, we describe how we apply credits (+) and debits (-) to your account for the purposes of calculating whether
your account is overdrawn and fees will be assessed.
Credits (+) are deposits or transfers of funds into your account.
Debits (-) are withdrawals or transfers of funds from your account.

How credit and debit information is received:
Credits (+) and debits (-) can be initiated with us or a third party. Examples of credits (+) and debits (-) that you can
initiate with us include:
• Withdrawals from a Fifth Third ATM.
• Transfers between Fifth Third accounts done through Online Banking, phone, or at a Fifth Third banking center.
Examples of credits (+) and debits (-) that can be initiated with a third party include:
• Checks you write that are presented to other banks,
• Transactions with merchants where you have used your debit card,
• Transactions at a non-Fifth Third ATM.

How we process credits and debits:
Whether a debit (-) or credit (+) will be applied to your account on a particular day is affected primarily by whether the
credit (+) or debit (-) was initiated with us or a third party.
Credits (+) and debits (-) that you initiate with us are subject to cut-off times. Cut-off times allow a bank to process and
validate transactions. Credits (+) and debits (-) that are initiated before a cut-off time on a Business Day are applied
to your account that day, however credits (+) are subject to Funds Availability limitations. Cut-Off Times and Funds
Availability limitations can be found in the “Funds Availability for Transaction Accounts” sections. Transactions initiated
after a cut-off time on a Business Day are posted to your account the next Business Day.

Our ability to process credits (+) and debits (-) that are initiated with third parties is dependent on when the third
party sends information about the credit (+) or debit (-) to us. We do not control the timing by which they provide this
information to us. In addition, receipt of the information may be impacted by circumstances beyond our control, such as
disruptions in network processing or processing delays by a third party intermediary. We generally apply credits (+) and
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debits (-) to your account on the first Business Day they are presented to us from a third party. Credits (+) are subject to
Funds Availability limitations.


Overdraft Calculation Order

If there is not enough money in your account at the end of the day to cover all of your posted debits (-), then we consider
transactions in the following order:


      START with your ending Daily Balance from the prior Business Day. This can be found on Online Banking at
                         53.com, by reviewing your periodic statement, or by contacting us.

                        Examples of credits (+) may include:
FIRST                    • Posted deposits, including cash, check, ATM, and Mobile
Add in Credits (+)          deposits, and Direct Deposits
                         • Transfers into the account such as ACH and wire transfers
                         • Online/telephone/Mobile Banking transfers into the account
                         • Refunds
                         • Returned Items

                        Examples of Posted Time-Stamped Debits may include:
                         • Posted ATM withdrawals
SECOND
                         • Posted Debit Card purchases
Deduct Posted                                                                                   In this order:
                         • Posted online/telephone/Mobile Banking transfer to another
Time-Stamped                                                                                    Oldest to Most Recent
                            Fifth Third Account
Debits (-)
                         • Posted time-stamped ACH debits (such as Zelle Pay)
                         • Posted Overdraft Protection Transfers

                        Examples of Posted Batch Debits may include:
THIRD                    • Posted Checks written
Deduct Posted                                                                                   In this order:
                         • Posted online/telephone transfers to a non-Fifth Third account
Batch Debits (-)                                                                                Largest Amount to Smallest
                         • Posted Online Banking bill payments
                                                                                                Amount
                         • Posted outgoing ACH transfers (automatic bill payments)
                         • Posted outgoing wire transfers

FOURTH                                                                                          In this order:
Deduct Fees and         Fifth Third account fees and services charges on your account           Largest Amount to Smallest
Service Charges                                                                                 Amount



Terms to Understand
Time-stamped Debits (-) generally are debits (-) that are authorized at the time of use (for example, at the time you use
your debit card for a purchase at a store or for a withdrawal from an ATM) and are later presented to us for payment.
Time-stamped Debits (-) are authorized and cannot be returned. Because of this, we pay these items first, in the order
they were authorized. Time-stamped debits appear in your account as pending items until they are posted.
Batch Debits (-) generally are debits (-) that are not pre-authorized by us. Batch debits do not include a timestamp, and if
you do not have enough money in your account, can often be returned by us to the sender, unpaid.
Pending status is when a debit (-) has been authorized but has not been posted to your account. A common example
of this is using a debit card to make a purchase. When your debit card is used at the point of purchase, the debit (-) is
authorized and in pending status. When the debit (-) is presented to us for payment, the debit (-) is posted (see below).
Typically, debits (-) made with your debit card using a PIN are posted to your account on the same date the transaction
is made. Some transactions made with your debit card without using a PIN can take additional Business Days to post.
In some cases, the amount of the pending debit (-) may not match the actual amount of the final debit (-). For example,
transactions with some merchants (including gas stations and restaurants) may involve an initial hold for a dollar amount
that could be higher or lower than the final debit (-). In addition, some transactions with some merchants (such as hotels
and car rental companies) will not be debited from your available balance at the time of authorization.
Posting is when a credit (+) or debit (-) is presented to us and applied to your account.
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Additional Overdraft Information & Fees

We may assess a fee for overdrafts created by checks, in-person withdrawals, ATM withdrawals, debit card transactions,
or other debits. We may assess an overdraft/returned item fee whether we pay or return a debit (-). See the “Pricing &
Services” section of this booklet for information on the fees.

If there is not enough money in your account at the end of the day to cover all of your batch debits (-), we may choose to
pay any or all of the batch debits (-) or return any or all of the batch debits (-) unpaid.

For debits (-) which require approval at the time of the transaction, such as debit card purchases, we may authorize or
decline the debit (-) if the transaction would overdraw your account. Even if we authorize a debit card item, you may
still be assessed an overdraft fee if your account does not have sufficient funds to pay the debit (-) when it is actually
presented for payment and posts to your account.

These are the ways a debit (-) may be handled when there is not enough money in your account:
• If you choose to enroll, Overdraft Protection may be used to pay the debit (-) (using funds from another Fifth Third
   account). If your account providing the protection does not have sufficient funds available or is subject to a restriction,
   or if the protected account is subject to a hold, Overdraft Protection may not be applied and Overdraft Coverage fees
   may be assessed.
• Overdraft Coverage may be applied by the Bank, at the Bank’s discretion, to pay the debit (-), resulting in a negative
   balance in your account.
• Your debit (-) may be returned unpaid

If you are charged overdraft or returned item fees, the fees will be an additional debit (-) to your account and will further
increase the negative balance in your account if a deposit is not made on time. For consumer accounts, we will not
assess a per-item overdraft fee for ATM and one-time debit card items unless you have accepted Overdraft Coverage on
your account for these transactions.

You are Responsible for Overdrawn Accounts. As a Fifth Third customer, you agree to immediately pay to us the
amount of any overdraft, plus any related fees. Our payment of a debit (-) when there is not enough money in your
account is not an application for credit. You also acknowledge that the amount of deficiency, whether due to the amount
of the overdraft or any fees assessed, is immediately due and payable without further demand.


Overdraft Coverage

An overdraft occurs when you do not have enough money in your account to cover a transaction; however, with Overdraft
Coverage we may pay it anyway. As part of our standard Overdraft Coverage service, we do authorize and pay overdrafts
for the following types of transactions at our discretion:
• Checks and other transactions made by using your checking account number
• Automatic bill payments

We do not authorize and pay overdrafts for the following types of transactions unless you instruct us to do so:
• ATM transactions
• Everyday debit card transactions

We pay overdrafts at our discretion, which means we do not guarantee that we will always authorize and pay any type of
transaction. If we do not authorize and pay an overdraft, your transaction will be declined.

If you want us to authorize and pay overdrafts for ATM and Debit Card transactions, contact us or visit 53.com/
accountmanagementservices. You may change your Overdraft Coverage preference selection at any time by either of
these methods.




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Overdraft Protection

With Overdraft Protection, money to cover the overdraft is transferred from another Fifth Third account - Savings,
Checking, Credit Card (also known as Ready Reserve Overdraft Protection) or Line of Credit - previously selected by the
customer by notifying Fifth Third Bank (“Linked Account”). There is an Overdraft Protection fee only when a transfer has
been made. See the “Pricing & Services” section of this booklet for Overdraft Protection transfer fee information.

An Overdraft Protection transfer to cover insufficient funds will be made automatically at the end of the Business Day the
overdraft occurred.

You must have sufficient funds in your Linked Account to cover the overdraft item(s) plus the Overdraft Protection transfer
fee. If your account providing the protection does not have sufficient funds available or is subject to a restriction, or if
the protected account is subject to a hold, Overdraft Protection may not be applied and Overdraft Coverage fees may be
assessed.

For all Overdraft Protection transfers, if there are not sufficient funds available in your Linked Account to cover the full
negative balance plus the overdraft protection transfer fee amount, we will attempt to transfer enough to cover at least one
item plus the Overdraft Protection transfer fee amount - starting with the last debit considered in the Overdraft Calculation
Order. After paying as many items as possible with an Overdraft Protection transfer from your Linked Account, additional
items may be subject to Overdraft Coverage fees.

If there are sufficient funds to cover the full amount or at least one item, transfers from a Savings or Checking account,
Credit Card, or Loan will always be the exact amount needed. The amount of sufficient funds available for transfer differs
by type of Overdraft Protection account:
•   Sufficient funds from a savings or checking account is determined by the available balance.
•   Sufficient funds from a Line of Credit is determined by the available credit limit on the account.
•   Sufficient funds from a Credit Card is a variable amount determined by a combination of available credit limit, cash
    advance limit and other risk factors.

There may be limits on the types of accounts that can be linked to any account for Overdraft Protection transfers. The
maximum amount of a transfer from a Credit Card is $32,767.00. The maximum amount of a transfer from
a Savings or Checking account or a Line of Credit is $99,999.99. If the Linked Account is closed, your Overdraft
Protection will be cancelled.




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TERMS & CONDITIONS APPLICABLE TO FIFTH THIRD EXPRESS BANKING®

Unless otherwise noted, all General Deposit Account Terms & Conditions, beginning on page three of this
booklet, apply to Fifth Third Express Banking.


Eligibility

To enroll in and utilize Fifth Third Express Banking, you must be a U.S. Resident and at least 16 years of age or older at
the time of origination.


Loyalty Pricing (applicable to Express Banking only)

Express Banking gives you the opportunity to earn discounts for the continued usage of qualifying transactions. As you
conduct certain transactions, we will graduate you up through Loyalty Tiers that provide discounts for certain services.
Cash Service transactions processed in a Banking Center and through Mobile Deposit using Fifth Third’s “Immediate
Funds” Services will be aggregated real-time for purposes of determining the Tier level.

Qualifying transactions to advance up Tier levels include:
• Direct Deposit or ACH credits
• ACH debits
• Debit Card purchases
• ZelleSM transactions
• Check cashing
• Money Orders
• Cashier’s Checks
• Mobile Deposit using Fifth Third’s “Immediate Funds” Service

Note: Some transactions post in a batch debit process at the end of each Business Day. Because of this, Debit Card
transactions, Direct Deposits, and ACH transactions will not be applied toward your Tier level until the day following
transactions posting.


Transactions & Services

Check Deposit Restrictions: Checks cannot be deposited directly into Express Banking Accounts at a Fifth Third
Banking Center, ATM, Fifth Third Night Depository, or via mail.
• If you attempt to make a check deposit via mail or through a Fifth Third Night Depository, the deposit will not be
   processed and check(s) will be returned to you.
• Checks presented in person at a Fifth Third Banking Center can be cashed using our check cashing solution. You
   can deposit that cash right into your Express Banking account. Applicable Banking Center Check Cashing Fees will
   apply. These fees are listed in the “Express Banking Pricing & Services” section of this booklet.
• Checks can also be deposited via Mobile Deposit using Fifth Third’s “Immediate Funds” Service. Applicable fees will
   apply. These fees are listed in the “Express Banking Pricing & Services” section of this booklet.

No Check Writing Capability: This payment type is specifically prohibited with Express Banking. Checks are not real-
time payments and therefore cannot be reflected in your balance quickly enough.
• Fifth Third will not honor a check if sufficient funds are not present to cover the item. We will not charge a fee for this
    transaction.
• Fifth Third reserves the right to reject a check presented against the account even if sufficient funds exist to cover the
    item, at no cost/fee to you.
• Fifth Third reserves the right to close your Express Banking account if checks are presented against the account.
• Furthermore, the Bank may at its sole discretion, with prior notice to the Customer (if required), change a Customer’s
    account type. This could cause a disruption for you as your account number would likely change.

Direct Deposit: You may, and we may encourage you to, provide your routing and account number to your employer or
government agency for the purpose of Direct Deposit.


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Debit Card: Fifth Third Express Banking offers the ability to select a Debit Card for your account. This Debit Card can
be used to make purchases at point of sale, send funds electronically, or make payments online. Debit Card transactions
that are processed will count toward your Loyalty Tier. Please note Debit Card transactions post in a batch debit process
at the end of each Business day. Debit Card transactions do not happen in real time and will not count toward your Tier
until the day following transaction posting.


Express Banking Funds Availability Policy

Not all Express Banking transactions happen in real time. Debit card transactions can sometimes be delayed from the
time that they are authorized until the time that they are settled. We will reject a debit card authorization if the transaction
will turn your current balance into a negative value. However, we cannot reject the settlement record even if it overdraws
your account. We will not charge you a fee if we reject or accept the transaction.

Our policy is to make funds from your cash deposits available to you on the calendar day we receive your deposit, subject
to applicable cutoff times. Electronic Direct Deposits and wire transfers will be available on the Business Day we receive
the deposit. “Business Day” is defined as Monday through Friday, excluding Federal Holidays. Once deposits are
available to you, you can withdraw the funds in cash, and we will use the funds to pay transactions you have initiated.

Note the manner in which you make your deposit and cutoff times can impact funds availability.


Additional Overdraft Information and Fees (applicable to Express Banking only)

In any instance where your account is overdrawn, no fee will be charged.

For debits (-) which require approval at the time of the transaction, such as debit card purchases, we will decline the
transaction if the authorization amount requested is more than your available balance.


Express Banking Pricing & Services

 Account Opening & Usage

 Minimum Deposit Needed to Open Account                      $0

 Express Banking Monthly Fee                                 $0

 Enrollment Fee                                              $0

 Cash Deposit Fee                                            $0

 Overdraft or Returned Item Fees                             $0

 Return Deposit Item Fee                                     $0

                                                             $5/month for accounts with balances of $0.01 up to $99.99, after being inactive
 Dormant Account Monthly Fee                                 for a period of 395 calendar days.
                                                             No monthly fee for inactive accounts with balances of $100 or more.

 Express Banking Account Closure Fee                         $0



 Express Banking Loyalty Tiers

 Tier Level                            1               2                    3           As you conduct certain transactions, we will graduate
                                                                                        you up the Tiers. You never go backward, but instead,
                                                                                        your transactions count for as long as you own the
 Number of Transactions                0-4            5-15                16 +          relationship. Once you reach Tier 3, you stay there.




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     Express Banking Tier Pricing

                                                               Tier 1                   Tier 2                    Tier 3
     Cashier’s Check Fee                                       $8.00                    $6.00                     $4.00              Listed services qualify for a
                                                                                                                                     discount based on your Tier level.
     Money Order Fee                                           $2.00                    $1.50                     $1.00
                                                                                                                                     Remember, if the average balance
     Identity Alert                                            $9.95                    $9.95                     $6.00              in your Goal Setter Savings
                                                                                                                                     account is $500 or greater, you will
     Identity Alert Premium                                   $14.95                    $14.95                    $9.00
                                                                                                                                     not be assessed a monthly service
     Goal Setter Savings Account Monthly                                                                                             charge regardless of what Tier
                                                               $5.00                    $5.00                       $0               level you have reached.
     Service Charge
     Banking Center Check Cashing Fees
                                                                                                                                    Our check cashing solution lets
     On-Us (Fifth Third Check)                                 1.00%                    1.00%                     Free              you cash practically any kind of
     Payroll, Government, and Non-Personal                                                                                          check at competitive rates. Then,
                                                               2.00%                    2.00%                    1.00%              you can deposit that cash right into
     Checks
                                                                                                                                    your Express Banking Account!
     Personal Checks                                           4.00%                    4.00%                    3.00%

     Pricing for Mobile Deposit using Fifth Third’s “Immediate Funds” Service
                                                                                                                                    Using Fifth Third’s mobile app
     Payroll, Government, and Non-Personal                                                                                          you can deposit checks through
                                                               2.00%                    2.00%                    1.00%              your mobile device with funds
     Checks
                                                                                                                                    available in seconds.1
     Personal Checks                                           4.00%                    4.00%                    3.00%
     Other Banking Center and Mobile Deposit Pricing

     Minimum Fee Assessed                                      $5.00                    $4.00                     $4.00
     Minimum Check Amount (at or below this
                                                              $20.00                    $20.00                   $20.00
     amount is a free transaction)
     Maximum Fee Assessed for On-Us Checks
                                                              $25.00                    $25.00                   $25.00
     only
1.
  Fifth Third Express Banking does not allow for use of Fifth Third Bank Online Bill Pay. Mobile Internet data and text messaging charges may apply. Subject to Digital
Services User Agreement, including applicable cut-off times.




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ELECTRONIC FUND TRANSFER

The Electronic Fund Transfer Act and Regulation E require Banks to provide certain information to customers regarding
electronic fund transfers (EFT’s). This Electronic Fund Transfer Disclosure applies to any EFT service you receive from
us related to an account established primarily for personal, family, or household purposes. Examples of EFT services
include direct deposits to your account, automatic regular payments made from your account to a third party, and one-
time electronic payments from your account using information from your check to pay for purchases or to pay bills.

Consumer Liability: Tell us AT ONCE if you believe your card or password/PIN has been lost or stolen, or if you believe
that an electronic fund transfer has been made without your permission using information from your check. Telephoning
is the best way of keeping your possible losses down. You could lose all the money in your account (plus your savings or
credit account if you have a checking account with the Overdraft Protection feature). If you tell us within two (2) Business
Days after you learn of the loss or theft of your password/PIN, you can lose no more than $50 if someone used your
password/PIN without your permission.

If you do NOT tell us within two (2) Business Days after you learn of the loss or theft of your password/PIN, and we can
prove we could have stopped someone from using your password/PIN without your permission if you had told us, you
could lose as much as $500.

Also, if your statement shows transfers that you did not make or that were not authorized by you, including those made
by PIN, code or other means, tell us at once. If you do not tell us within sixty (60) days after the statement was mailed
or made available to you, you may not get back any money you lost after the sixty (60) days if we can prove that we
could have stopped someone from taking the money if you had told us in time. If a good reason (such as a long trip or a
hospital stay) kept you from telling us, we will extend the time period for a reasonable time.

Notice about Electronic Check conversion: When you provide a check as payment, you authorize us either to use
information from your check to make a one-time electronic fund transfer from your account or to process the payment as a
check transaction.

Contact in event of unauthorized transfer: If you believe your card or password/PIN has been lost or stolen, contact
us.

You should also contact us if you believe a transfer has been made using the information from your check without your
permission.

Business Days: For purposes of these disclosures, our Business Days are Monday through Friday, excluding Federal
Holidays.


Transfer Types and Limitations

Electronic Check Conversion: You may authorize a merchant or other payee to make a one-time electronic payment
from your checking account using information from your check to:
1. Pay for purchases.
2. Pay bills.

Limitations on frequency of transfers: We reserve the right to impose limitations for security purposes at any time.

Limitations on dollar amounts of transfers: We reserve the right to impose limitations for security purposes at any
time.

Fees: We reserve the right to impose a fee and to change fees upon notice to you. A fee may be imposed by an
automated teller machine (ATM), and by any network used to complete the transaction, when you initiate an electronic
fund transfer or make a balance inquiry.

Confidentiality: We will disclose information to third parties about your account or the transfers you make:
1. Where it is necessary for completing transfers;
2. In order to verify the existence and condition of your account for a third party, such as a credit bureau or merchant;
3. In order to comply with government agency or court orders; or
4. If you give us your written permission.
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Right to Receive Documentation of Transfers

Preauthorized credits: If you arrange to have direct deposits made to the Account at least once every sixty (60) days
from the same person or company, you can contact us to find out whether or not the deposit has been made.

Periodic statements: You will get a monthly account statement unless there are no transfers in a particular month. In
any case, you will get the statement at least quarterly, unless the account is dormant, in which case you will receive a
statement only once a year.

ATM Transfers: You will get a receipt at the time you make any transfer to or from your account using one of our
Automated Teller Machines (ATM) or point-of–sale terminals.


Error Resolution

In case of errors or questions about your electronic transfers, contact us as soon as you can.

If you think your statement or receipt is wrong or if you need more information about a transfer listed on the statement or
receipt, we must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or
error appeared:
1. Tell us your name and account number.
2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an
   error or why you need more information.
3. Tell us the dollar amount of the suspected error.


If you tell us orally, we may require that you send us your complaint or question in writing within ten (10) Business Days.
We will determine whether an error occurred within ten (10) Business Days after we hear from you and will correct any
error promptly. If we need more time, however, we may take up to 45 days to investigate your complaint or question.
If we decide to do this, we will credit your account within ten (10) Business Days for the amount you think is in error,
so that you will have the use of the money during the time it takes us to complete our investigation. If we ask you to put
your complaint or question in writing and we do not receive it within ten (10) Business Days, we may not credit your
account.

For errors involving new accounts opened within thirty (30) days or less, point-of-sale, or foreign-initiated transactions, we
may take up to ninety (90) days to investigate your complaint or question. For new accounts, we may take up to twenty
(20) Business Days to credit your account for the amount you think is in error.

We will tell you the results within three (3) Business Days after completing our investigation. If we decide that there
was no error, we will send you a written explanation. You may ask for copies of the documents that we used in our
investigation.


ELECTRONIC BANKING

The following disclosures are made to you in order to explain electronic banking terms and conditions. Electronic banking
includes all use of the Jeanie®, Plus System®, NYCE® Network, Pulse®, Star® Systems, Visa®, MasterCard®, Cirrus®,
or other access terminals, including point of sale terminals, whether or not the electronic terminal is involved at the time of
the transaction, the use of telephone bill payment service, the use of a Fifth Third Bank ATM or Fifth Third Bank Telephone
Banking to transfer money, use of Fifth Third Internet Banking to transfer money or pay bills, the deposit of government
payments such as Social Security and payroll payments and other deposits to your accounts if these deposits are
received by the Bank electronically, and the withdrawal of money from your account to pay insurance premiums or other
bills if these withdrawals are made electronically and have been pre-authorized by you in writing.

Any account holder (Customer), whether individually or jointly, may utilize the transfer or payment capabilities of any
electronic banking product offered by Bank. Customer agrees to keep confidential all account and personal identification
information necessary to utilize any electronic banking product. Customer agrees that any other User of electronic
banking services is authorized or permitted by Customer to make transfers from Customer’s account upon transmitting
the applicable account or personal identification information until Customer has taken all steps necessary to revoke such
authorization by preventing such use by any User. Customer assumes responsibility for all transactions arising from use
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of any electronic banking product by any User whether such use is with an electronic transfer device, touchtone phone,
Internet access product or line of credit.

Each customer agrees to pay Bank for all purchases made, services rendered, and cash or funds advanced by or to
any User using electronic banking. This liability will be joint and several as to all joint Customers. Except as specifically
prohibited by law or regulation, Customer hereby waives as against Bank all claims, defenses, rights and offsets of
Customer or User now or hereafter existing against any merchant or other payee for services or merchandise acquired
through any electronic banking product. All transactions arising out of use of electronic banking will be controlled by the
terms of all applicable account agreements, other contractual relationships with Bank and all Rules and Regulations
Applicable to All Fifth Third Consumer and Business Banking Accounts and Cards (excluding Express Banking), as
amended from time to time. Bank reserves the right to refuse or terminate Customer’s permission to use electronic
banking at the sole discretion of Bank.

Electronic banking transfers and payments are subject to the limitations contained in the section of these rules entitled
Transfer Types and Limitations. Customer authorizes the disclosure to any merchant or other payee of the information
relating to the Customer’s accounts as is reasonably necessary to operate the electronic banking service. The laws of
the United States and the State of Ohio govern this Agreement regardless of the Customer or User’s place of residence
and all transfers are agreed to be originated within the State of Ohio. Customer and User hereby consent to service of
process, personal jurisdiction and venue in the state and federal courts in Cincinnati, Ohio and Hamilton County, Ohio,
and select such courts as the exclusive forum with respect to any action or proceeding brought to enforce any liability or
obligation under these Rules & Regulations Applicable to all Fifth Third Accounts and Cards (excluding Express Banking).

Please understand that not every automatic or pre-authorized deposit or withdrawal is done electronically. Many of
these transactions are done by the third party mailing to the Bank a check or draft and, therefore, are not covered by the
following disclosures. However, all debit card transactions are covered, even if an electronic terminal is not involved at the
time of transaction. Also, you have received separate disclosures for your line of credit account.
In these electronic banking disclosures, several words are used repeatedly. These words are defined as follows:
“Bank”, as used herein, shall mean any affiliate of Fifth Third Bancorp.
“Customer” shall mean the person or persons in whose name the account is carried on the books of the Bank and
shall include the masculine, feminine, and neuter genders and the plural as well as the singular wherever the context so
permits.
“Card” shall mean one or more plastic credit or debit cards or any other access device issued or approved by the Bank
for use in conjunction with a money dispensing machine, banking terminal, electronic funds transfer device, internet
access product, line of credit account or any credit or debit program at Bank.
“Deposit” shall mean any transfer of money into your account.
“Electronic Banking Delivery Systems” allow you to access your accounts using automated tellers, touch- tone phones
or other devices by which you make deposits, transfers or withdrawals from your account.
“Telephone Banking” allows you to access your account using any touch-tone phone.
“Withdrawal” shall mean any transfer of money out of your account in cash or for payment to a third party.
“VISA” allows you to access any device identified with a Visa logo.
“Jeanie Network” allows you to access any device identified with the Jeanie network logo.
“Plus System” allows you to access any device identified with a Plus System logo.
“Star System” allows you to access any device identified with the Star Systems logo.
“NYCE Network” allows you to access any device identified with the NYCE Network logo.
“PULSE Network” allows you to access any device identified with the Pulse Network logo.
“Mastercard” allows you to access any device identified with a Mastercard logo.
“Electronic Transfer” shall mean any electronic banking transaction, including deposits or withdrawals accomplished
electronically, as well as all transfers resulting from debit card transactions, even if an electronic terminal is not involved at
the time of the transaction.
“Fifth Third Online Banking” Allows you to access your account using any personal computer via the Internet.
“Cirrus” allows you to access any device identified with the Cirrus System logo.
® Reg. U.S. Pat. & T.M. Off.


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Electronic Check Conversion

When you provide a check as payment, you authorize a merchant or payee to make a one-time electronic payment from
your checking account using information from your check to pay for purchases or to pay bills.

Electronic Check Re-Presentment
(This section applies to consumer accounts, excluding Express Banking)

A check may be re-presented from a person’s bank to whom Customer has written a check which Bank has returned to
that bank by electronic re-presentment. If Bank receives an Re-presented Check Entry (RCK), Bank will pay or return the
RCK as if the original paper check were being represented to us. The information relating to “Electronic Funds Transfers”
in this Rules and Regulations Brochure will not apply to these transactions. The following conditions must
be met for an RCK to be charged to Customer’s account: 1) the RCK must relate to a paper check drawn on an account
that was returned unpaid because of insufficient or uncollected funds; 2) the paper check must not have contained an
unauthorized signature or an alteration and must not have been a counterfeit; 3) a stop payment must not have been
placed on the paper check after it was returned unpaid but before it was collected electronically; 4) the paper check must
have been less than $2,500; 5) the paper check must have been dated 180 days or less before the date on which the
RCK is presented to Bank; 6) the RCK must be for the face amount of the paper check only and may not include any
collection fee charged by anyone; 7) the payee of the paper check must have given you notice that, if the paper check
is returned by Bank, the paper check could be collected electronically; and 8) the RCK must have been sent to Bank
no more than twice after the first time Bank returned the paper check, or no more than once after the second time Bank
returned the paper check.

Electronic Presentment of Checks

Under certain circumstances your check information can be converted to electronic information by merchants, banks or
others. Electronic information may be used to debit your account electronically. Merchants may use check information
such as routing, account and serial numbers to make an electronic presentation against your account and the check may
not be returned to you. These types of transactions may occur at point-of-sale purchases or where checks are submitted
to a lock box for processing.

In other circumstances, checks you wrote returned for insufficient funds or uncollected funds and represented for payment
electronically by the payee’s bank are not covered under Regulation E. Electronic re-presentments will appear as
separate entries on your statement with appropriate descriptions. If any of your checks are converted to an electronic
presentment by others, we shall have no liability to you should we fail to honor any stop payment order you have
placed on the check. Also, we shall have no liability to you for duplicate payments if a paper check and an electronic
re-presentment are both presented. This limitation of our liability to you in no way affects your legal right to dispute an
electronically presented item under applicable rules and regulations, nor does it affect your legal rights to recover a
duplicate payment from the third party payee.


Wire Transfers

The following terms apply to wire transfer requests:

1. Customer is solely responsible for the content of the request and the accuracy and completeness of the information
   contained in the request. Bank will rely on the information contained on the request in carrying out Customer’s
   instructions.

2. Customer represents and agrees that all transfers requested are for lawful purposes and comply with all applicable
   laws and regulations, including those relating to foreign asset control, funding of terrorism and anti-money laundering.

3. Evidence of Authority: Bank may require evidence of the authority of the person submitting the request to act for
   the named customer before acting on the Request.

4. Instructions: Bank will rely on the information provided in the Request in executing the payment order on
   Customer’s behalf. Bank has no obligations to detect any errors in the Request and no liability for any incorrect or
   missing information in the Request. No instructions or other restrictions accompanying the Request shall be effective
   unless expressly accepted and agreed to in writing by Bank.

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5. Verification: Customer understands that Bank may in its discretion seek to verify the authenticity of the Request
   pursuant to the Bank’s Security Procedures.

6. Payment to Bank: Bank is authorized to debit Customer’s account for the US Dollar amount of the transfer at the
   time Bank processes the payment order. If the beneficiary’s bank is instructed to pay in a currency other than its
   local currency, payment will be made pursuant to that bank’s policies and Customer is responsible for any effects of
   such payment. For consumer international transactions see Pre-Payment and Disclosure Receipt. The Bank’s Fee
   Schedule is available upon request.

7. Cancellation or amendment of wire transfer: With respect to consumer international transactions, Customer has
   30 minutes to request Bank to amend or cancel the Request or payment order. For all other transactions, Bank has
   no obligation to amend or cancel a request or payment order after the Request has been submitted by Customer. If
   Customer makes a verifiable request to cancel or amend in accordance with Bank’s procedures, Bank will make a
   good faith effort to act on it provided the payment order has not been executed and there is a reasonable amount of
   time to act on the request. Bank shall have no liability whatsoever if such cancellation or amendment is not effected.
   Furthermore, Customer agrees to indemnify and hold Bank harmless from any and all liabilities, costs, and expenses
   Bank may incur in attempting to cancel or amend the wire transfer.

8. Name and Numbers: Customer agrees that Bank, and any bank or intermediary are entitled to rely on the account
   number and bank identification numbers provided to us without any obligation to look at the name of the beneficiary or
   bank which may also appear in the Request or payment order, even if the number identifies a person different that the
   named beneficiary or bank. If Customer provides an incorrect account number or bank identifier for the recipient, your
   funds may be misdirected resulting in the loss of your funds.
9. System Rules: All payment orders are subject to Article 4A of the Uniform Commercial Code (“UCC”) in effect
   in state of the Bank’s headquarters and to the rules then in effect for the funds transfer system in which Bank
   participates and the payment order is made such as the Federal Reserve System, SWIFT and CHIPS. In addition,
   consumer international transactions are subject to the applicable provisions of Consumer Financial Protection
   Bureau’s Regulation E.


    Limitation of Liability and Indemnification

    Customer expressly agrees that Bank is only liable for direct actual damages and only to the extent damages are
    recoverable under the UCC as varied by their Terms. Bank’s obligation for services outside the scope of the UCC is
    limited to the exercise of reasonable and ordinary care. Bank shall not be liable for any errors or delays on the part
    of any third party, including without limitation, third parties used by Bank in executing a payment order or performing
    a related act due to any cause other than Bank’s failure to exercise reasonable and ordinary care, and no such third
    party shall be deemed to be Bank’s agent. Bank shall not be liable for its refusal to honor any request if, in good faith,
    it is unable to satisfy itself that such request is valid, based upon adherence to procedures. IN NO EVENT SHALL
    BANK BE LIABLE FOR SPECIAL, INDIRECT, PUNITIVE OR CONSEQUENTIAL DAMAGES, EXCEPT AS MAY BE
    OTHERWISE PROVIDED BY LAW EVEN IF BANK SHALL HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH
    DAMAGE. Except as may be limited by applicable law, Customer agrees to indemnify Bank and hold it harmless
    (including the payment of reasonable attorneys’ fees) from and against all damages, costs, expenses and liability
    to third parties arising out of, or in connection with, the services provided by Bank or actions otherwise pursuant to
    customer’s instructions except where Bank is grossly negligent or engaged in willful misconduct.




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PRICING & SERVICES APPLICABLE TO CONSUMER DEPOSIT ACCOUNTS

The information in the following charts apply to consumer checking and savings accounts, and Express Banking accounts
where indicated. See the Fifth Third Express Banking® Terms & Conditions section of this booklet for additional pricing
specific to Express Banking.

Account Opening & Usage

Minimum Deposit Needed to Open Account                           $0. Your account must be funded with 45 days of opening

                                                                 Preferred Checking: $25/month
                                                                 Enhanced Checking: $20/month
                                                                 Essential Checking: $11/month, or $8/month with monthly direct deposits
Checking Account Monthly Service Charge                          totaling $500 or more
                                                                 See 53.com or the Welcome Kit for qualifications to waive the monthly service
                                                                 charge

                                                                 Relationship Money Market: $5/month
                                                                 Relationship Savings: $5/month
Savings Account Monthly Service Charge                           Goal Setter Savings: $5/month
                                                                 See 53.com or the Welcome Kit for qualifications to waive the monthly service
                                                                 charge

                                                                 Accounts that earn interest: Enhanced Checking, Preferred Checking, Private
Interest Rate
                                                                 Bank Checking, Platinum Capital Account® (PCA), and all savings accounts

                                                                 $5/month
Dormant Account Monthly Fee                                      Fee will be assessed for no deposits or withdrawals for the period of 12 months
                                                                 for checking accounts and 36 months for savings accounts. Fee not assessed if
                                                                 balance is greater than $2,500.

Payments - Checking & Savings Accounts

Return Deposit Item                                              $15/item

Money Orders                                                     $1 each

Cashier’s Checks                                                 $4 each

Payments & Services - Apply to all Deposit Accounts, including Express Banking

Stop Payment                                                     $33/item
Fifth Third and Partner Networks ATM Fee                         $0 - No charge to use Fifth Third ATMs or partner network ATMs1

                                                                 $2.75 for U.S. transactions
                                                                 $5 for international transactions
Non-Fifth Third ATM Fee                                          Transactions include cash withdrawals, deposits, transfers, balance inquiries,
                                                                 and purchases made at an ATM. Other ATM network owners may also assess a
                                                                 usage fee.

International POS/ATM Transaction Fee                            3% of transaction amount2

Currency Conversion Fee                                          0.20% of transaction amount2
Incoming Wire Transfers                                          $15 each for domestic and/or international wire transfers

Outgoing Wire Transfers
                                                                 $30 each3
(Domestic Wire in U.S. Dollar currency)

Outgoing Wire Transfers
                                                                 $50 each3
(Foreign Wire in Foreign currency)

Outgoing Wire Transfers
                                                                 $85 each3
(Foreign Wire in U.S. Dollar currency)

Processing Garnishment, Attachment, or Levy                      $80, or maximum amount allowed under state law, whichever is less

Obtaining Account Information - Apply to all Deposit Accounts, including Express Banking
                                                                 $5/copy
Copy of a Check or Statement
                                                                 Up to 24 most recent months available through Online Banking at no charge
Copy of Check Images Mailed with Monthly Statement               $2/month

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     Debit Card Services - Apply to all Deposit Accounts, including Express Banking

     Gold Debit Mastercard®
                                                                                 $0 - No Annual Fee
     includes Express Banking Debit Mastercard®

                                                                                 $3.95/month
     World DebitTM Mastercard®                                                   Fee is waived for Preferred Checking, Fifth Third Wealth Management Platinum
                                                                                 Capital Account (PCA) and Wealth Management Checking account holders,
                                                                                 when that account is the primary account linked to the card.

                                                                                 $10/year
     Stand Up To Cancer Debit Mastercard®                                        Stand Up To Cancer will receive the annual fee associated with this debit card as
                                                                                 a donation. No fee waiver.

                                                                                 $0
     Debit Card Replacement Fee                                                  Expedited card shipping (by request): $30. Fee is waived for Preferred and
                                                                                 Private Bank customers.

     Non-Fifth Third Cash Advance Debit Card Fee                                 Greater of $5 or 3% of the transaction amount, up to maximum $10

     Processing Policies

                                                                                 Checking & Savings Accounts: $37/item for each occurrence. Maximum of 5
                                                                                 overdraft fees charged per business day. No per-item fees charged when your
     Overdraft or Returned Item Fees                                             account is overdrawn by $5 or less at the end of the Business Day.
                                                                                 Express Banking: No overdraft fees. Not eligible for Overdraft Coverage.

     Overdraft Protection Transfers                                              $12/transfer4
     Overdraft Calculation Order                                                 Refer to the “Account Overdraft & Returned Items” section of this booklet.
     Funds Availability Policy                                                   Refer to the “Funds Availability” section of this booklet.

                                                                                 For Errors or Questions on:
                                                                                  •  PIN and ACH Transactions
                                                                                  •  Lost/Stolen/Unauthorized
                                                                                  •  Signature transactions
     Error Resolution                                                            Contact us at 877-833-6197 during the hours of operations
                                                                                 (Mon-Fri 7am-8pm and Sat 8:30am-5pm ET)
                                                                                 Or in writing: Disputes Resolution Department, Madisonville Operations Center,
                                                                                 5050 Kingsley Drive - MD 1MOCBX, Cincinnati, OH 45227
                                                                                 To report your card lost or stolen 24/7 call: 800-782-0279

1.
   Fifth Third Bank is part of the Allpoint®, Presto!, and 7-Eleven® network of ATMs, which features more than 50,000 fee-free ATMs nationwide. Customers of Fifth Third Bank
can use their Fifth Third debit or prepaid card to withdraw cash fee-free from any domestic Allpoint® ATM in addition to Presto! ATMs located in Publix stores, and 7-Eleven®
ATMs listed on our ATM locator on 53.com or on our Mobile Banking app. Fees will apply when using your credit card at any ATM to perform a cash advance or when using
a credit card to withdraw cash at any Presto! ATM. ATM fees may apply to certain 7-Eleven® locations in Oklahoma, Hawaii, and Alaska. Any 7-Eleven® location listed on our
ATM locator is fee-free.
2.
   See Debit Card Disclosure and Card Agreement.
3.
   Exchange rates, other bank fees, and taxes may apply.
4.
   If your account providing the protection does not have sufficient funds available or is subject to a restriction, or if the protected account is subject to a hold, Overdraft
Protection may not be applied and Overdraft Coverage fees may be assessed.




PRICING & SERVICES APPLICABLE TO HEALTH SAVINGS ACCOUNTS (HSA)

Refer to the Health Savings Account (HSA) Fee Schedule provided at account enrollment for applicable fees.




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PRICING & SERVICES APPLICABLE TO BUSINESS CHECKING ACCOUNTS

The information in the following charts apply only to Business Standard, Business Premium, and Business Elite Checking
Accounts. Contact us for information on any other Business Banking Accounts. Prices of all services are subject to
change upon 30 days’ notice from Bank.

Account Opening & Usage

Minimum Deposit Needed to Open Account                $0
                                                      Business Standard: $11/month
                                                      Business Premium: $25/month
Monthly Service Charge                                Business Elite: $35/month
                                                      See 53.com or the Business Banking Solutions Kit for qualifications to waive the
                                                      monthly service charge
                                                      Business Standard: 250 at no charge
                                                      Business Premium: 450 at no charge
Checking Transactions per Month
                       8
                                                      Business Elite: 650 at no charge
                                                      Excess transactions are charged $0.50 per transaction
                                                      $5/month (Fee will be assessed for no deposits or withdrawals for the period of
Dormant Account Monthly Fee                           12 months for checking accounts. Fee not assessed if balance is greater than
                                                      $3,000.)
Account Closure Fee                                   $25

Banking Center Cash Deposits
                                                      Business Standard: $0 - $5,000 deposit is free
                                  10                  Business Premium: $0 - $10,000 deposit is free
Banking Center Cash Deposit
                                                      Business Elite: $0 - $25,000 deposit is free
                                                      Excess cash deposits are charged $0.0030 per $1.00 thereafter
Banking Center Courier Stop Scheduled                 $13.00
Banking Center Courier Deposit Charge                 $3.70
Banking Center Deposit Collection Courier             $11.75
Banking Center Deposit Coin Mixed                     $3.70
Banking Center Deposit Non-Standard Bags              $155.25 Per Bag

Banking Center Cash Orders
                             10                       Tier 1: First 10 cash orders are free
Banking Center Cash Order
                                                      Tier 2: More than 10 cash orders are $10.00 per order thereafter
                                       10             Tier 1: First 40 rolled coins are free
Banking Center Order Coin Roll
                                                      Tier 2: More than 40 rolls are $0.25 per roll thereafter

                                       10
                                                      Tier 1: First 4 cash orders are $2.40 per coin box
Banking Center Order Coin Box                         Tier 2: 5-10 cash orders are $5.25 per coin box
                                                      Tier 3: 11 or more cash orders are $7.35 per coin box
                                            10        Tier 1: First 20 straps at no charge
Banking Center Order Notes Strap
                                                      Tier 2: More than 20 straps are $1.25 per strap thereafter
                                                      Tier 1: 0-100 loose notes are $0.0157 per note (through November 30, 2018); effective
                                             11
                                                      December 1, 2018, 0-100 loose notes are free
Banking Center Order Notes Loose                      Tier 2: 101-400 total loose notes are $0.0157 per note
                                                      Tier 3: 401-925 total loose notes are $0.0624 per note
                                                      Tier 4: 926 or more total loose notes are $0.125 per note

Account Services
Stop Payment                                          $33/item

Fifth Third ATM Fees                                  $0 - No charge to use Fifth Third ATMs
                                                      $0 - No charge for U.S. transactions and $5 for international transactions. Other
Non-Fifth Third ATM Transactions
                                                      ATM network owners may also assess a usage fee.
International POS/ATM Transaction Fee9                3% of transaction amount9
Currency Conversion Fee9                              0.20% of transaction amount9
Deposit Adjustment Fee                                $12 per adjustment
Return Deposit Item                                   $12.50/item


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Account Services (continued)

Money Order                                                   $1.00
Cashier’s Check                                               $10.75
                                                              $3 per month. No fee charged if the average collected balance is greater than or
Paper Statement Fee
                                                              equal to $3,000.
                                                              $12.00 per photocopy produced or per quarter hour of research completed by a Fifth
Research Photocopy/Time
                                                              Third Employee

Research Time                                                 $12.00 per quarter hour

                                                              $28 if managed by a commercial officer and annual sales revenues are greater than
Commercial Account Management
                                                              $20 million
                                                              $0.1350 per $1000 for customers with annual sales revenues greater than $20
Deposit Administration Fee
                                                              million
Snapshot Statement                                            $6.30

Special Statement                                             $28.00 per duplicate statement or statement sent to second address

Standard Confirmation - Written Confirmation Of Audit
                                                              $47.00
Inquiry
Balance Inquiry                                               $10.75
Commercial Credit Reference                                   $78.25
Processing Garnishment, Attachment, or Levy                   $80, or maximum amount allowed under state law, whichever is less
Charged Off Account                                           $30/account
                                                              Tier 1: 0-75 MICR rejects are $0.315 per reject
Check Excessive Deposit Rejects 11
                                - Per MICR Item Rejected,     Tier 2: 76-275 total MICR rejects are $0.365 per reject
Exceeding 1% Of Deposited Items                               Tier 3: 276-525 total MICR rejects are $0.41 per reject
                                                              Tier 4: 526 or more total MICR rejects are $0.455 per reject

                           11
                                                              Tier 1: 0-99 requests (other than standard) are $38.25 per request
Special Statement Cut-Off                                     Tier 2: 100-300 total requests are $31.00 per request
                                                              Tier 3: 301 or more total requests are $15.50 per request

Debit Card Services

Business Debit Mastercard®                                    $0 - No Annual Fee

                                                              $0
Debit Card Replacement Fee                                    Expedited card shipping (by request): $30. Fee is waived for Preferred and
                                                              Private Bank customers.

Wire

Wire Transfer (Incoming)                                      $15.50 each for domestic and/or international

Wire Transfer (Outgoing)                                      $30 each for domestic; $50 each for foreign

Wire Incoming Non-Structured                                  $26.50

Batch, Branch & Operations Wire Outbound Repetitive           $18.50

Outbound International Wire Initiated By Commercial Officer   $104.25

Wire Transfer Repetitive Storage                              $0.785 per wire template stored within system
Batch, Operations, Standing Wire Outbound Non Repetitive      $26.25
Admin & Branch Outbound - Non Repetitive (Foreign
                                                              $41.50
Denominated)
Ex Phone Wire Outbound Repetitive/Non Repetitive /US
                                                              $54.50
Dollar International
Ex Phone Wire Outbound                                        $8.35
Batch, Operations & Letter Wire Outbound US Dollar
                                                              $42.75
International (Via Printed Instructions)
                                10                            Tier 1: First 5 wires are $10 per wire
Outgoing US Dollar Wire – Web
                                                              Tier 2: More than 5 are $25 per wire thereafter
                                           10                 Tier 1: Up to 5 wires are $25 per wire
Outgoing International US Dollar Wire – Web
                                                              Tier 2: More than 5 wires are $45 per wire thereafter


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  Processing Policies
                                                                                    $37/item for each occurrence. No per item overdraft/returned item fees are
  Overdraft or Returned Item Fees                                                   charged when your account is overdrawn by $5 or less at the end of the Business
                                                                                    Day. You will not be charged for more than 5 items per Business Day.
                                                                                    $12/transfer. No fee is charged when your account is overdrawn $5 or less at the
  Overdraft Protection Transfers
                                                                                    end of the Business Day.12
                                                                                    $8/day is assessed if an overdraft is not paid within 5 Business Days. If an account
  Extended Overdraft Fee                                                            is not brought current, the daily overdraft fees will accrue as of the first calendar day
                                                                                    of the overdraft occurrence up to a maximum of 20 calendar days.
                                                                                    If the account has an average daily negative collected balance during the service
  Using Unavailable Funds                                                           charge cycle, the charge will be $18 or 18% on the average daily negative
                                                                                    collected balance amount, whichever is greater.

  Overdraft Calculation Order                                                       Refer to the “Account Overdraft & Returned Items” section of this booklet.

  Funds Availability Policy                                                         Refer to the “Funds Availability” section of this booklet.

                                                                                    For Errors or Questions on:
                                                                                     •  PIN and ACH Transactions
                                                                                     •  Lost/Stolen/Unauthorized
                                                                                     •  Signature transactions
  Error Resolution                                                                  Contact us at 1-877-833-6197 during the hours of operations
                                                                                    (Mon-Fri 7am-8pm and Sat 8:30am-5pm EST)
                                                                                    Or in writing: Disputes Resolution Department, Madisonville Operations Center,
                                                                                    5050 Kingsley Drive - MD 1MOCBX, Cincinnati, OH 45227
                                                                                    To report your card lost or stolen 24/7 call: 1-800-782-0279

All business checking accounts: Customers purchase checks. The standard deposit insurance amount is $250,000 per depositor for each deposit insurance ownership
category. Please see fdic.gov for insurance coverage.
1.
   Any business checking account, savings account, or CD for the same entity may be considered for the combined monthly average balance earn out option to waive the
business checking account standard monthly service charge. Contact us for details.
2.
   Business credit cards are subject to credit review and approval. $500 monthly credit card spend is calculated by looking at all of your Fifth Third Credit Card accounts and
adding the total amount spent on any business credit card statement(s) issued within the last 35 days (excludes Professional Card). The business entity owning the Fifth
Third Business Checking account must the same business entity owning the Business credit cards. Ask a Fifth Third representative for details.
4.
   Merchant Services are provided through Vantiv, LLC. Merchant Services disclosures: Merchant Services agreement required. Merchant Services processing fees vary.
Contact us for details.
5.
   All business loans and lines of credit are subject to credit review and approval. Business Term Loans must have a balance during the checking statement cycle being
evaluated. Business Lines of Credit or Revolving Line of Credit must have a balance or have been used during the checking statement cycle being evaluated. The business
entity owning the Fifth Third Business Checking account must be the same business entity owning the Business Loan or Line of Credit. Ask a Fifth Third representative for
details.
6.
   Electronic Deposit Manager activation requires customer to sign a Fifth Third Treasury Management agreement. Eligibility requirements apply. Contact us for details.
7.
   Cash Management Essentials activation requires customer to sign a Fifth Third Treasury Management agreement. ACH activation with Cash Management Essentials is
subject to credit review and approval. Fees apply. Contact us for details.
8.
   Transactions include: checks paid, deposited items including paper and electronic transactions, cash deposits, deposit tickets, ACH addenda, ACH credits and debits
received, and Overdraft Protection transfers. A deposit ticket and cash deposit each count as separate transactions.
9.
   See Business Debit Card Agreement.

Pricing structure for each service charge will vary between price per unit, ﬂat fee, or tiered pricing.
10.
    Partitioned Tiered Pricing: The units are priced separately based on the tier they are in.
11.
    Threshold Tiered Pricing: All units are priced the same based on the total number of units.

  If your account providing the protection does not have sufficient funds available or is subject to a restriction, or if the protected account is subject to a hold, Overdraft
12.

Protection may not be applied and Overdraft Coverage fees may be assessed.




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PRICING & SERVICES APPLICABLE TO BUSINESS SAVINGS ACCOUNTS

The information in the following charts apply only to Business Savings, Business Relationship Savings, and Business
Money Market Accounts. Contact us for information on any other Business Banking Accounts. Prices of all services are
subject to change upon 30 days’ notice from Bank.

Banking Center Cash Deposits
                                                      Fee only assessed for the Business Savings Account
                                 2                    Tier 1: $0 - $25,000 deposited are $0.0026 per dollar
Banking Center Cash Deposit
                                                      Tier 2: $25,001-$100,000 deposited are $0.0032 per dollar
                                                      Tier 3: $100,001 or more deposited are $0.0037 per dollar
Banking Center Courier Stop Scheduled                 $13.00
Banking Center Courier Deposit Charge                 $3.70
Banking Center Deposit Collection Courier             $11.75
Banking Center Deposit Coin Mixed                     $3.70
Banking Center Deposit Non-Standard Bags              $155.25 Per Bag
Banking Center Deposit Coin Rolled                    $0.11 Per roll

                                                 2
                                                      Tier 1: First 5 are $1.60 per occurrence of >$5 Coin Deposited
Banking Center Deposit Coin Loose                     Tier 2: 6-10 are $2.90 per occurrence of >$5 Coin Deposited
                                                      Tier 3: 11 or more are $5.55 per occurrence of >$5 Coin Deposited
Banking Center Deposit Notes Strap                    $0.16 Per strap

Banking Center Cash Orders
                                                      Tier 1: First 5 cash orders are $2.50 per order (through November 30, 2018); effective
                             2                        December 1, 2018, first 5 cash orders are free
Banking Center Cash Order
                                                      Tier 2: 6-10 cash orders are $6.00 per order
                                                      Tier 3: 11 or more cash orders are $12.00 per order

                                         2
                                                      Tier 1: First 20 rolled coins are $0.06 per roll
Banking Center Order Coin Roll                        Tier 2: 21-40 rolls are $0.11 per roll
                                                      Tier 3: 41 or more rolls are $0.27 per roll

                                         2
                                                      Tier 1: First 4 cash orders are $2.40 per coin box
Banking Center Order Coin Box                         Tier 2: 5-10 cash orders are $5.25 per coin box
                                                      Tier 3: 11 or more cash orders are $7.35 per coin box

Banking Center Order Notes Strap                      $0.75 per strap ordered

                                                      Tier 1: 0-100 loose notes are $0.0157 per note (through November 30, 2018);
                                                      effective December 1, 2018, 1-100 loose notes are free
                                             2        Tier 2: 101-400 total loose notes are $0.0157 per note
Banking Center Order Notes Loose
                                                      Tier 3: 401-925 total loose notes are $0.0624 per note
                                                      Tier 4: 926 or more total loose notes are $0.0773 per note (through November 30,
                                                      2018); effective December 1, 2018, 926 or more loose notes are $0.125 per note

Account Services

                                                      Business Relationship Savings: $0
                                                      Business Savings: $5/month
Monthly Maintenance Fee                               Business Money Market: $10/month
                                                      See 53.com or the Business Banking Solutions Kit for qualifications to waive the
                                                      monthly service charge
                                                      Business Relationship Savings: Tier 1: First 100 items are free; Tier 2: More than
                             1                        100 are $0.515 per item thereafter
Business Banking Deposits
                                                      Business Savings & Business Money Market: Tier 1: First 100 items are free;
                                                      Tier 2: More than 100 = $5.60 overage fee plus $0.42 per item thereafter

                                                      Business Relationship Savings: Tier 1: First 3 are free; Tier 2: 4-6 checks are
                                     1                $1.05 per item; Tier 3: More than 6 are $10.50 per item
CCA Checks Paid/Other Debits
                                                      Business Savings & Business Money Market: Tier 1: First 3 are free;
                                                      Tier 2: 4-6 checks are $1.15 per item; Tier 3: More than 6 are $11.25 per item

                                                      Business Relationship Savings: $3 per month unless average daily collected
                                                      balance is greater than or equal to $500
Paper Deposit Statement
                                                      Business Savings & Money Market: $3 per month unless average daily collected
                                                      balance is greater than or equal to $3,000

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Account Services (continued)

Check Deposit Adjustment                                        $12.00 per adjustment

Wire Incoming Non-Structured                                    $19.25

Wire Incoming Structured                                        $12.00

Return Deposit Item                                             $12.50

Money Order                                                     $1.00

Cashier’s Check                                                 $10.75

                                                                $12.00 per photocopy produced or per quarter hour of research completed by a Fifth
Research Photocopy/Time
                                                                Third Employee

Research Time                                                   $12.00 per quarter hour

Snapshot Statement                                              $6.30

Special Statement                                               $28.00 per duplicate statement or statement sent to second address

Standard Confirmation - Written Confirmation Of Audit Inquiry   $47.00

Balance Inquiry                                                 $10.75

Commercial Credit Reference                                     $78.25

                                                                Tier 1: 0-75 MICR rejects are $0.315 per reject
Check Excessive Deposit Rejects 2- Per MICR Item Rejected,      Tier 2: 76-275 total MICR rejects are $0.365 per reject
Exceeding 1% Of Deposited Items                                 Tier 3: 276-525 total MICR rejects are $0.41 per reject
                                                                Tier 4: 526 or more total MICR rejects are $0.455 per reject
Disbursed Check Paid MICR Reject & Repair                       $0.37 per item

                           2
                                                                Tier 1: 0-99 requests (other than standard) are $38.25 per request
Special Statement Cut-Off                                       Tier 2: 100-300 total requests are $31.00 per request
                                                                Tier 3: 301 or more total requests are $15.50 per request

Wire

Branch Wire Outbound Non-Repetitive                             $30 per account
Branch Wire Outbound US Dollar International                    $50

Batch, Branch & Operations Wire Outbound Repetitive             $18.50

Outbound International Wire Initiated By Commercial Officer     $104.25

Wire (continued)

Wire Transfer Repetitive Storage                                $0.785 per wire template stored within system
Batch, Operations, Standing Wire Outbound Non Repetitive        $26.25
Admin & Branch Outbound - Non Repetitive (Foreign
                                                                $41.50
Denominated)
Ex Phone Wire Outbound Repetitive/Non Repetitive /US Dollar
                                                                $54.50
International
External Phone Wire Outbound                                    $8.35

Batch, Operations & Letter Wire Outbound US Dollar
                                                                $42.75
International (via Printed Instructions)
Letter Wire Outbound Book Transfer
                                                                $5.60
(Via Printed Instructions)

Internal Phone Wire Outbound                                    $5.80

Miscellaneous

                                                                Fee only assessed for the Business Relationship Savings. $28 if managed by a
Commercial Account Management
                                                                commercial officer and annual sales revenues are greater than $20 million

                                                                $0.1350 per $1000 for customers with annual sales revenues are greater than $20
Deposit Administration Fee
                                                                million

Tax Deposits                                                    $0.78


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 Miscellaneous (continued)

 Stop Payment                                                                       $33.00
                                                                                    Fee only assessed for the Business Relationship Savings & Business Money Market
 Dormant Account Monthly Fee                                                        $5 per month dormant (Assessed when no deposits or withdrawals are made during
                                                                                    a period of 36 months. Fee not assessed if balance is greater than $3,000.)
                                                                                    $37/item for each occurrence. No per item overdraft/returned item fees are
 Overdraft Coverage Fee or NSF Fee                                                  charged when your account is overdrawn by $5 or less at the end of the Business
                                                                                    Day. You will not be charged for more than 5 items per Business Day.
                                                                                    $12/transfer. No fee is charged when your account is overdrawn $5 or less at the
 Overdraft Protection Fee
                                                                                    end of the Business Day.3
                                                                                    $8/day is assessed if an overdraft is not paid within 5 Business Days. If an account
 Extended Overdraft Fee                                                             is not brought current, the daily overdraft fees will accrue as of the first calendar day
                                                                                    of the overdraft occurrence up to a maximum of 20 calendar days.
                                                                                    $17.50 If the account has an average daily negative collected balance during the
                                                                                    service charge cycle, and if the your account has a $2,000 or more average daily
 Negative Collected Fee
                                                                                    negative collected balance you will be charged 18% on the average daily negative
                                                                                    collected balance amount.
 Multi Signer Base Charge                                                           $57.50 per month base fee for multi-signer verification
 Multi Signer Per Item                                                              $0.052 per check requiring multiple verifications
 Account Closure Fee                                                                $25
 Charged Off Account                                                                $30
 Excessive Withdrawal Fee (exceeding 6 withdraws per month)                         $5 per event up to a maximum of 4 events per month

Pricing structure for each service charge will vary between price per unit, ﬂat fee or tiered pricing.
1.
   Partitioned Tiered Pricing: The units are priced separately based on the tier they are in.
2.
   Threshold Tiered Pricing: All units are priced the same based on the total number of units.
3.
   If your account providing the protection does not have sufficient funds available or is subject to a restriction, or if the protected account is subject to a hold, Overdraft
Protection may not be applied and Overdraft Coverage fees may be assessed.




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                          FIFTH THIRD PRIVACY NOTICE FOR COMMERCIAL CUSTOMERS

I. Introduction

This Privacy Notice for Commercial Customers (the “Notice”) applies to Company Information (as defined
below) about individuals and business or other entities that seek or obtain financial products and services
from Fifth Third for business or commercial purposes (“Commercial Customers”). This Notice does not
apply to information received from individuals who seek or obtain financial products or services from us for personal,
family or household purposes; such consumer information is governed by the Fifth Third Privacy Notice for
Consumer Information, entitled, “What Does Fifth Third Do With Your Personal Information” and found at https://
www.53.com/privacy-security/#tab-consumersTab.

For purposes of this Notice, “Company Information” means any information about a Commercial Customer from
which the Commercial Customer could be identified, whether obtained directly from the Commercial Customer or
from another source. Company Information may include, but is not limited to: (a) Company name; (b) physical
address, including street name and name of city or town; (c) e-mail address or other electronic contact information; (d)
telephone number; (e) tax identification number; (f) credit history; (g) bank or credit card account number; (h) financial
statements; (i) information about officers, directors, and other control persons; and (j) any other information from or
about a Commercial Customer. However, the following is not considered Company Information: (a) aggregated or
anonymous information that does not identify a customer and (b) information that Fifth Third obtains from a public
source (or knows to be available from a public source).

Fifth Third may make changes to this Notice from time to time. It is available to you at https://www.53.com/privacy-
security/#tab-businessTab.


II. How We Gather Company Information

We may gather and retain Company Information about Commercial Customers from the following sources:
• Applications or other forms that you provide to us;
• Financial account activity and transactions (such as payment history, account balances and usage);
• Credit-related information from credit reporting agencies;
• Information from website visits (such as cookies, usage and transaction history, and other technical data that we use for
   security purposes and to enhance the online experience) ;
• Information we receive from third parties such as data providers or independent researchers.


III. How We Share Company Information

Fifth Third shares Company Information among and between all of its affiliates. You may not opt-out of this sharing.

Fifth Third may share Company Information with non-affiliated third parties and with Vantiv, LLC (“Vantiv”) in order to offer
you additional products and services. Fifth Third has an ownership interest in Vantiv. You have the right to opt-out of such
sharing, as described below in “How To Change Your Privacy Options.”

Fifth Third may also disclose Company Information to non-affiliated third parties for routine business reasons. For
example, Fifth Third may disclose Company Information to service providers and other third parties as necessary
to facilitate a transaction requested by a Commercial Customer, or to report to credit bureaus. Fifth Third may also
disclose Company Information to non-affiliated third parties in response to a subpoena, warrant, or court order, or
as otherwise required or advisable considering applicable law or regulation. You may not opt-out of this sharing.
Further, Fifth Third may disclose Company Information to its banking, securities, or other regulators without any prior
notification or any other restriction.

Fifth Third may collect certain financial information about individuals – such as business owners or loan guarantors - that
Fifth Third receives in connection with providing products or services to a Commercial Customer. Fifth Third will not use
or transfer such information for any purpose other than facilitating the commercial transaction for which the information
was originally provided, except with the consent of the individual.


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Please note that Fifth Third does sell loans and other obligations to third parties for a variety of reasons. Consent of the
individual, guarantors or borrowers is not required and notice will not be provided in the event of a sale of any loan or
other obligation to a third party.


IV. How To Change Your Privacy Options

We will share Company Information as described in Section III above unless you direct us otherwise by taking one of the
below steps. Note that based on the sharing practices above, there are certain instances of sharing for which you may
not opt out.
• Write to us at Fifth Third, Customer Service, Privacy Administration, Post Office Box 4444, Cincinnati, Ohio
• 45263-4444. Requests must include Company name, address, contact telephone number, Tax Identification Number
    (“TIN”) and account number(s) (if applicable) for the business entity(ies) opting out. Incomplete information will delay or
    possibly prevent our ability to honor your request.
• Call a Fifth Third Customer Service Professional at 1-800-889-5269.
• Visit any Fifth Third Banking Center.

Our system will be updated to reflect your privacy preferences within thirty (30) days following receipt of the request with
complete information. You can verify the update by calling the Customer Service number listed above or visiting any Fifth
Third Banking Center.

If you have already shared with us your privacy preferences under this Notice, it is not necessary to contact us again. We
will continue to honor the preferences you have provided.


V. Security

To protect company Information from unauthorized access and use, we use appropriate physical, procedural and
technical safeguards as required by law.


VI. Fifth Third Companies Covered by this Notice

This notice will apply to all affiliates of Fifth Third, now existing or hereafter arising. This list is available to you at
https://www.53.com/affiliatedcompanies.




                                               CONSUMER PRIVACY POLICY

At Fifth Third we are committed to protecting and managing your information and would like to share how we gather,
retain and protect your information. Please review the “What Does Fifth Third Do With Your Personal Information”
section for more information.




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3.NF-002-PP-0918                                                                                                Rev. 09/18
 FACTS             WHAT DOES FIFTH THIRD DO WITH YOUR PERSONAL INFORMATION?

 WHY?              Financial companies choose how they share your personal information. Federal law gives consumers
                   the right to limit some, but not all, sharing. Federal law requires us to tell you how we collect, share,
                   and protect your personal information. Please read this notice carefully to understand what we do.
 WHAT?             The types of personal information we collect and share depend on the product or service you have with
                   us. This information can include:
                         • Social Security number and income.
                         • Payment history and account balances.
                         • Credit history and credit scores.
 HOW?              All financial companies need to share customers’ personal information to run their everyday business.
                   In the section below, we list the reasons financial companies can share their customers’ personal
                   information; the reasons Fifth Third chooses to share; and whether you can limit this sharing.

  REASONS WE CAN SHARE YOUR PERSONAL                         DOES FIFTH THIRD                CAN YOU LIMIT THIS
  INFORMATION                                                SHARE?                          SHARING?
  For our everyday business purposes – such as to                     Yes                              No
  process your transactions, maintain your account(s),
  respond to court orders and legal investigations, or
  report to credit bureaus
  For our marketing purposes – to offer our                               Yes                              No
  products and services to you
  For joint marketing with other financial                                Yes                              No
  companies
  For our affiliates’ everyday business purposes –                        Yes                              No
  information about your transactions and experiences
  For our affiliates’ everyday business purposes –                        Yes                              Yes
  information about your creditworthiness
  For our affiliates to market to you                                     Yes                              Yes
  For nonaffiliates to market to you                                      No                               N/A

  TO LIMIT OUR              • Call 800-889-5269 – our menu will prompt you through your choice(s); or
  SHARING                   • Visit any Fifth Third Banking Center.
                            Please note: If you are a new customer, we can begin sharing your information 30 days from
                            the date we sent this notice. When you are no longer our customer, we continue to share your
                            information as described in this notice. However, you can contact us at any time to limit our
                            sharing.

  QUESTIONS?            Call 800-889-5269 or go to 53.com/privacy-security.

  WHO WE ARE
  Who is providing this notice?          Fifth Third companies that are financial service providers, such as banks,
                                         mortgage companies, securities brokers, and insurance agencies.

  WHAT WE DO
  How does Fifth Third protect           To protect your personal information from unauthorized access and use, we use
  my personal information?               security measures that comply with federal law. These measures include
                                         computer safeguards and secured files and buildings.
  How does Fifth Third collect           We collect your personal information, for example, when you:
  my personal information?                     • Open an account or apply for a loan.
                                               • Pay your bills or make a deposit.
                                               • Use your credit card or debit card.
                                         We also collect your personal information from others, such as credit bureaus,
                                         affiliates, or other companies.
  Why can’t I limit all sharing?         Federal law gives you the right to limit only:
                                               • Sharing for affiliates’ everyday business purposes – information about
                                                   your creditworthiness.
                                               • Affiliates from using your information to market to you.
                                               • Sharing for nonaffiliates to market to you.

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                                    State laws and other individual companies may give you additional rights to limit
                                    sharing. See “Other Important Information” below for more on your rights under
                                    state law.
What happens when I limit           Your choices will apply to everyone on your account.
sharing for an account I hold
jointly with someone else?

DEFINITIONS
Affiliates                          Companies related by common ownership or control. They can be financial and
                                    nonfinancial companies.
                                        • Our affiliates include companies with a Fifth Third name and financial
                                            companies such as banks, mortgage companies, insurance agencies,
                                            securities brokers, and investment advisors.
Nonaffiliates                       Companies not related by common ownership or control. They can be financial
                                    and nonfinancial companies.
                                        • Nonaffiliates we share with can include government agencies, credit
                                            bureaus, auto dealers, companies that perform marketing services on
                                            our behalf, and companies that assist in servicing your account with us.
                                        • Fifth Third does not share information with nonaffiliates so they can
                                            market to you.
Joint marketing                     A formal agreement between nonaffiliated financial companies that together
                                    market financial products or services to you.
                                        • Our joint marketing partners include categories of companies such as
                                            insurance companies.

OTHER IMPORTANT INFORMATION
You may have other privacy protections under state law. We will comply with applicable state laws with respect to
our information practices.

For accounts with California and Vermont mailing addresses, we will not share your credit or financial information
that we collect except as permitted by law, including, for example, with your consent or to service your account. We
will also not use your information for joint marketing purposes.

For Nevada residents: If you prefer not to receive marketing calls from us, you may be placed on our internal Do Not
Call List by calling us toll-free at 800-889-5269. Nevada law requires us to provide you with the following contact
information:

Fifth Third, Customer Services         Bureau of Consumer Protection, Office of the Nevada Attorney General
Privacy Administration                 555 East Washington Street, Suite 3900
P.O. Box 4444                          Las Vegas, NV 89101
Cincinnati, OH 45263-4444              Phone: 702-486-3132, Email: BCFINFO@ag.state.nv.us

AFFILIATES PROVIDING THIS NOTICE
Fifth Third Bank, an Ohio Banking Corporation        Fifth Third Mortgage Company
Fifth Third Insurance Agency, Inc.                   Fifth Third Mortgage-Michigan, LLC
Fifth Third Securities, Inc. Member FINRA/SIPC

Important Information about Credit Reporting:
We may report information about your accounts to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report.

Important Information about Procedures for Opening a New Account:
To help the government fight the funding of terrorism and money laundering activities, Federal law requires all
financial institutions to obtain, verify, and record information that identifies each person who opens an account

What this means for you: When you open an account, we will ask for your name, address, date of birth, and
other information that will allow us to identify you. We may also ask to see your driver's license or other
identifying documents.



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How to                          Main Phone Number: 		                    1-800-972-3030

                                Website: 			53.com
Contact Us                      Visit a Banking Center:                  Find your local branch at locations.53.com

                                The telephone number for the branch where your account is located will be
                                listed on your periodic account statement.


                                If you believe your card or password/PIN has been lost or stolen, call
                                1-800-782-0279

                                If you believe a transfer has been made using information from your checks
                                without your permission, call 1-800-782-0279.

                                If you want us to authorize and pay overdrafts for ATM and debit card
                                transactions, call 1-800-845-3262.



                                Written Correspondence:

                                To place a stop payment on a check or regular payment from your account,
                                write to:
                                                 Customer Service Department, Fifth Third Bank
                                                      5050 Kingsley Drive – MD 1MOC3A
                                                            Cincinnati, OH 45263

                                If you believe that you have suffered a loss relating to a substitute check that
                                you received and that was posted to your account, write to:
                                               Disputes Resolution Department, Fifth Third Bank
                                                     5050 Kingsley Drive – MD 1MOCBX
                                                           Cincinnati, OH 45263

                                All other written correspondence:
                                                       Office of the President, Fifth Third Bank
                                                        5050 Kingsley Drive - MD 1MOCOP
                                                                Cincinnati, OH 45263




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650277                                             Equal Housing Lender

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                          EXHIBIT 2 to EXHIBIT B




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